    Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 1 of 91



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGÍA INVERSORA,
S.A.U. and PETERSEN ENERGÍA,
S.A.U.,

                     Plaintiffs,            No. 15-CV-2739 (LAP)

-against-

ARGENTINE REPUBLIC and YPF
S.A.,

                     Defendants.

ETON PARK CAPITAL MANAGEMENT,
LP, ETON PARK MASTER FUND,
LTD., and ETON PARK FUND, L.P.,

                     Plaintiffs,            No. 16-CV-8569 (LAP)

-against-                                             ORDER

ARGENTINE REPUBLIC and YPF
S.A.,

                     Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

     The attached documents were received by Chambers on

February 17, 2025.    The parties may inform the Court, by letter,

no later than February 25, 2025 of their views as to what

action, if any, the Court should take in response.

SO ORDERED.
Dated:    February 19, 2025
          New York, New York

                             __________________________________
                             LORETTA A. PRESKA
                             Senior United States District Judge


                                    1
     Case 1:15-cv-02739-LAP      Document 720     Filed 02/19/25   Page 2 of 91




                                                                   February 17, 2025


Ex-Parte Letter by Mail - Confidential


The Honorable Loretta A. Preska,
United States District Court for the Southern District of New York,
500 Pearl Street,
New York, NY, 10007.

      Re: Petersen Energ�a Inversora S.A.U. v. Argentine Republic and YPF S.A.,
      No. 15 Civ. 2739 (LAP) (“Petersen”); Eton Park Capital Mgmt. et al. v.
      Argentine Republic and YPF S.A., No. 16 Civ. 8569 (LAP) (“Eton Park”)

Dear Judge Preska:

       I am writing to you on an ex-parte basis as the president and legal
representative of Republican Action for Argentina, Inc. (“RA4ARG”), a US
charitable tax-exempt entity devoted to strengthening the republican institutions in
the Republic of Argentina –including the integrity of public office and
independence of the judiciary– as well as its free market economy, in order to
intervene and file as an interested party an Ex-Parte Motion for Order Pursuant to
Fed. R. Civ. P., Rule 60.1

       Please find enclosed all pertinent documentation about RA4ARG. We
encourage you to peruse www.republicanactionforargentina.org to scrutinize our
mission and some of our local and international cases over the last few years. The
undersigned is a US-Argentinean citizen with decades of experience as an
international attorney, US investment banker and trusted adviser, with exposure to
both the federal legal system of Argentina –including its Supreme Court of
Justice– as well as the US legal system as a NY licensed attorney with good
standing and a member of the Bar of the US Supreme Court.



1
  Therefore without any pre-motion conference procedure and service requirements
(Individual Practice Rules LAP, Rule 2 A; Fed. R. Civ. P., Rule 5 (D), Rule 24
(c)).

                                       1 of 7
     Case 1:15-cv-02739-LAP      Document 720     Filed 02/19/25   Page 3 of 91




       As further entertained in the enclosed Ex-Parte Motion for Order with
Memorandum of Law, RA4ARG hereby alleges an international criminal
conspiracy and/or scheme impacting these legal proceedings at the core, in the
sense of turning the US legal system –the judgments rendered by your Honor– into
a conduit to consummate fraud and money laundering, which as a whole deserves
proper investigation and eventual indictments also under the Foreign Corrupt
Practices Act (FCPA) as well as the Racketeer Influenced and Corrupt
Organizations Act (RICO), among others.

       The Department of Justice (DOJ) has already intervened in this case (# 679,
11/6/2024) and provided information about it to Argentine authorities via formal
correspondence.2 RA4ARG pleads the Court to grant the enclosed Ex-Parte
Motion for Order Pursuant to Fed. R. Civ. P., Rule 60, in light of the national and
strategic interests of the United States of America, and, with such goal in sight,
move the DOJ and any other relevant agencies to adequately scrutinize the facts
and parties herein.

       In the context of the right of intervention (Fed. R. Civ. P., Rule 24),
RA4ARG is not intended to appear beyond securing such a purpose, as long as the
deterrence and punishment of any criminal activity within the US jurisdiction is
carried out by the State, as opposed to querellantes or private prosecutors in
Continental jurisdictions like the one of the Republic of Argentina –where they can
act alongside public-driven prosecution or in lieu of it–, thus constraining its role
to the civil and criminal connotations surrounding the alleged international scheme
that affects this very same US Court.

      The latter affirmation does carry the remote possibility of triggering further
criminal proceedings in Argentina, as a result of some parties having resorted to
the US legal system –also a victim in this scenario– in concert to consummate
fraud and money laundering against Argentina and eventually Spain.3 All of it,


2
  Letter from the Department of Justice to the Ministry of Justice and Human
Rights, Republic of Argentina, July 29, 2024.
3
  Confidential Intelligence Report No. 0704/18 issued by the Unit of Financial
Information of Argentina (UIF), in re, “NN/ violation of Law 22,415”, Federal
Criminal Court No. 4, Buenos Aires, Argentina, as probatory indication of criminal
activity regarding the Eskenazi Family’s acquisition of a 25% stake in YPF from

                                       2 of 7
     Case 1:15-cv-02739-LAP      Document 720     Filed 02/19/25   Page 4 of 91




apart from the criminal complaints currently stalled before Argentinean Federal
Judge Ariel Lijo (Docket No. 3518/2006, “NN /about criminal investigation”,
Federal Criminal Court No. 4, Buenos Aires, Argentina) that involve and revolve
around YPF and Cristina F. de Kirchner, former President and former Vice
President of Argentina; Sebastián, Matías and Enrique (deceased) Eskenazi,
members of Grupo Petersen; Axel Kicillof, former Minister of Economy of
Argentina, former Board Member of YPF, and current Governor of Buenos Aires
Province; Carlos Zanini, former Legal Counsel to the Presidency; Miguel
Galuccio, former President of YPF; Jorge Marcelo Soloaga, former Board Member
of YPF; Cristian Girard, former President of Comisión Nacional de Valores (CNV,
local SEC) and Alejandro Vanoli, former Vice President Comisión Nacional de
Valores (CNV, local SEC); among several others.4

       As Your Honor is most likely aware, Argentinean Federal Judge Ariel Lijo
has been under major public scrutiny due to his nomination to the local Supreme
Court of Justice by the current administration, which in fact lacks the required
senatorial votes to attain confirmation of its nominees to the judiciary as a whole –
the government is in need of votes pertaining to the political faction led by former
President Cristina F. de Kirchner. Such a candidate to the highest court is facing
profound opposition from multiple local and international organizations,5 including
the American Chamber of Commerce; and the main objections to his nomination
circle back to his alleged lack of integrity when dealing with high profile cases, in


Repsol and related maneuvers, among others. [free open source]
https://www.rionegro.com.ar/wp-content/uploads/2023/04/54434.pdf
4
  Idem 3. Criminal complaints before Argentinean Federal Judge Ariel Lijo,
Docket No. 3518/2006, “NN /about criminal investigation”, Federal Criminal
Court No. 4, Buenos Aires, Argentina, were filed by former congresswoman
Elisa M. A. Carrió in 2006, 2012 (amended and expanded), and 2023 (amended
and expanded as a result of Your Honor’s $16.1 billion award against the
Republic of Argentina). Ms. Carrió has been a stalwart fighter against public-
driven corruption in Argentina, and some of his complaints have secured
criminal sentences against corrupt politicians, including the former President
and Vice president Cristina F. de Kirchner and some of her associates.
5
  RA4ARG, Our support for the nomination of Manuel García Mansilla and
objection to the nomination of Ariel Lijo as justices of the Supreme Court of
Justice of the Nation: its moral significance and the values of freedom and justice,
Buenos Aires, May 15, 2024; www.republicanactionforargentina.org

                                       3 of 7
     Case 1:15-cv-02739-LAP       Document 720      Filed 02/19/25   Page 5 of 91




particular the above-mentioned about YPF, in the sense of delaying and/or stalling
the respective criminal investigations.6

       This letter as well as the enclosed fillings are submitted on an ex-parte basis
for evident reasons: if there is a criminal investigation at the international level out
of the United States, namely around the so-called Kirchner Family and their
associates as well as the so-called Eskenazi Family –widely perceived to have
performed as the figurehead of the prior–, extensive to certain past governmental
and YPF officials and the very same financial players participating in these legal
proceedings, none of it should be known to those parties prior to the US legal
system making a formal determination as to the right course of action. The
existing parties in the legal conflict before Your Honor, to a larger or lesser extent,
are key subjects of such criminal investigation as well as of any eventual
indictments and prosecution.

       Relying on the expert knowledge of the facts at hand by this Court, it is
respectfully noted that the private law angle of the current legal dispute –civil or
commercial–, which derived in an unprecedented $16.1 billion plus judgment
against the Republic of Argentina, cannot be fully appreciated without the prism of
international criminal activity. Once those forensic and legal lenses are placed
over this entire scheme, the following key facts become highly relevant to judge it
as a whole:

      The “nationalization” of YPF was a two-step process for the benefit of the
      Kirchner and Eskenazi Families. To begin with, the Kirchner Family
      compelled YPF’s private controlling shareholder, the Spanish energy
      company Repsol, to sell a 25% stake to their figurehead, the Eskenazi
      Family. The latter, foreign to the energy sector, did not invest a single cent
      of equity in this multi-billion-dollar transaction. Everything was financed
      through various loans of approximately $3.4 billion, which were going to be
      repaid via dividends of YPF. Repsol mistakenly understood the Kirchner
      Family was satisfied with such a transaction and the new status quo. In fact,
      the Kirchner Family subsequently triggered the political decision to

6
 WLRN Public Media, Associated Press, Argentina’s Libertarian President
Shocks with his Supreme Court Pick, June 21, 2024;
https://www.wlrn.org/americas/2024-06-21/argentinas-libertarian-president-
shocks-with-his-supreme-court-pick

                                         4 of 7
       Case 1:15-cv-02739-LAP     Document 720      Filed 02/19/25   Page 6 of 91




        nationalize YPF by taking Repsol’s controlling stake but excluding the stake
        held by their alleged figurehead, the Eskenazi Family. At this juncture no
        more dividends were paid, including to the Eskenazi Family. This caused the
        Eskenazi Family to default those loans and their for-the-occasion investment
        vehicle in YPF –the Petersen Group companies– went bankrupt in Spain
        –the jurisdiction where those companies had been established just before
        executing this transaction and solely to that effect. As a result, the Eskenazi
        Family’s 25% stake reverted back to their lenders: 6% to Repsol and 19% to
        financial lenders. Criminal complaints were filed in Argentina –still
        ongoing– against various parties involved as a result of this nefarious plot.7
        The Eskenazi Family –once more, the alleged figurehead of the Kirchner
        Family– entered into an agreement with the English fund Burford Capital
        and its US counterpart Eton Park Management to finance and pursue these
        expensive legal proceedings and ultimately split the $16.1 billion plus award
        (30/70 split). In such a way, the aforesaid parties resorted to the US legal
        system against the Republic of Argentina and YPF by seeking compensation
        before Your Honor. Burford Capital has already monetized part of its own
        share in such award to undisclosed third-party investors.

       The elementary question thus becomes self-revealing: How could the US
legal system vouch for foreign government corruption via figureheads within a
spurious “nationalization process” claiming leftist or pseudo-communist ideals to
defraud an entire population and literally steal billions of dollars out of oil assets
for personal enrichment, because, in the end, expensive lawyers were retained by
some English and US financial players acting as plaintiffs? And, more
troublesome, how could the US legal system guarantee the payment of those
parties’ criminal bounty via some legal award? Without a shred of doubt, such a
course of action is not what the legal system has been designed and intended for,
and none of it is in the national and strategic interests of the United States of
America. As a matter of fact, encapsulating the facts of this case as a civil or
commercial honest dispute between the Eskenazi Family –thus the current
financial players who acquired such claims fruit of a poisoned relationship at
inception– and the Argentinean Government –at the time controlled by the
Kirchner Family– means looking at the wrong tree while missing the entire forest
subject to arson. To the contrary, appreciating such criminal activity for what it is
indeed sheds legal light to the totality of the factual context.

7
    Idem 3, 4.

                                         5 of 7
     Case 1:15-cv-02739-LAP      Document 720     Filed 02/19/25    Page 7 of 91




       In the spirit of an ex-parte intervention and the confidential nature of the
topic addressed in this missive, the de facto treatment of paper-filing under seal is
hereby presumed (Individual Practice Rules LAP, Rule 1 A). Moreover, the
undersigned is at the Court’s disposal if oral arguments were deemed conducive to
rule on the issues at hand (Individual Practice Rules LAP, Rule 3 D).

       The accompanying ex-parte motions to intervene and pursuant to Fed. R.
Civ. P., Rule 60, are being filed within a reasonable time after Your Honor’s core
judgment, attending the circumstances, current litigation stage, and the institutional
magnitude of this case not only for the millions of Argentineans who suffered the
ignominy summarized above, but also as a potential US legal precedent that could
disincentivize foreign governmental corruption around the globe from those who
directly or indirectly seek validation of their criminal exploits within the US
judiciary. In short, preventing financial players and other similar brokers from
“buying” spurious claims from such sort of State-related actors internationally,
with the goal of giving them an aura of respectability under the English language
through major financial centers and selective US law firms. The “normalization”
of business standards applicable to companies like YPF, within a global free-
market economy, cannot be fostered in such a manner.

       What would be the difference if we were talking about some massive corrupt
transaction out of Cuba, Venezuela, Brazil, Mexico, South Africa, Russia, Ukraine,
India, China and/or any other country that could undergo a similar takeover of its
institutions by the hand of individuals like the Kirchner Family? None whatsoever
if the Burford Capitals of this world were to acquire those claims in order to
become the financing engine, buffer and fronting of some long and costly litigation
before US courts. And none of it serves the interest of justice, needless to say the
national and strategic interests of this great nation.

       As a result of all the prior, RA4ARG timely pleads the Court to grant its
right to intervene per pertinent motion, as well as to then entertain its ex-parte
Motion for Order in order to: (i) order the Department of Justice (DOJ) and any
other relevant agencies of the imperious need to initiate a formal criminal
investigation at the international level of the parties and facts highlighted supra
–eventually against any other conflictive directive–; (ii) stay these legal
proceedings pending of such criminal investigation as well as eventual indictments
and prosecution; and (iii) timely vacate the $16.1 billion plus award against the


                                        6 of 7
     Case 1:15-cv-02739-LAP     Document 720     Filed 02/19/25   Page 8 of 91




Republic of Argentina due to institutional interests and concerns in light of
international criminal activity unduly impacting the US legal system (Fed. R. Civ.
P., Rule 24; Rule 60(b)(6), (d)(1)–(3); Rule 5 (a)(1)(D)).

      Respectfully,




                                          ___________________
                                          Fernando G. Irazu
                                          Attorney at Law, NYSBA # 3898418
                                          President
                                          Republican Action for Argentina, Inc.
                                          Billinghurst 1656, 2 A
                                          Buenos Aires, 1425, Argentina
                                          fgirazu@gmail.com
                                          +54911 3084-8080




      Enclosures

      a. Basic documentation of Republican Action for Argentina, Inc.
      b. Ex-parte Motion to Intervene Pursuant to Fed. R. Civ. P., Rule 24, with
         Memorandum of Law.
      c. Ex-parte Motion for Order Pursuant to Fed. R. Civ. P., Rule 60, with
         Memorandum of Law.
      d. Ex-parte Motion for Admission Pro Hac Vice with Affidavits.




                                      7 of 7
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 9 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 10 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 11 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 12 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 13 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 14 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 15 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 16 of 91
   Case 1:15-cv-02739-LAP   Document 720    Filed 02/19/25   Page 17 of 91




            Appellate Division of the Supreme Court
                     of the State of New York
                    First Judicial Department


       I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                    Fernando Gabriel Irazu
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on November 13,
2000, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the Office of
Court Administration, and according to the records of this Court
is currently in good standing as an Attorney and Counselor-at-
Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of New York on
                             February 10, 2025.




                                           Clerk of the Court




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Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 18 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 19 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 20 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 21 of 91
    Case 1:15-cv-02739-LAP                Document 720     Filed 02/19/25    Page 22 of 91




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

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PETERSEN ENERG�   A INVERSORA,                             Case No.: 1-15-C-V-02739 (LAP)
S.A.U. and PETERSEN ENERG�A, S.A.U.,

                           Plaintiffs,                     The Honorable Loretta A. Preska

                           v.

ARGENTINE REPUBLIC and YPF S.A.

                          Defendants

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ETON PARK CAPITAL MANAGEMENT,                              Case No.: 1-16-C-V-08569 (LAP)
LP, ETON PARK MASTER FUND, LTD.,
and ETON PARK FUND, L.P.,

                          Plaintiffs,

                          v.

ARGENTINE REPUBLIC and YPF S.A.

                         Defendants

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                     REPUBLICAN ACTION FOR ARGENTINA INC.’S
                         EX-PARTE MOTION TO INTERVENE

        Pursuant to FRCP, Rule 24, Republican Action for Argentina, Inc. (“RA4ARG”)

respectfully moves this Court to intervene as an interested party in these legal proceedings. As

explained in the Memorandum of Law that accompanies this motion, RA4ARG is entitled to

intervene as of right and should also be granted permissive intervention. Due to the nature of
   Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 23 of 91




RA4ARG’s requested intervention in tandem with its Ex-Parte Motion for Order Pursuant to

FRCP, Rule 60, this motion is also submitted on an ex-parte basis (FRCP, Rule 24 (c); Rule 5 (a)

(1) (D); Local Civil Rule 6.1 (d)). RA4ARG remains at the Court’s disposal if oral arguments

are deemed convenient and/or necessary to rule on the issues at hand (Individual Practice Rules

LAP, Rule 2 (D)).


       FRCP, Rule 24. Intervention.

       “(a) INTERVENTION OF RIGHT.

       On timely motion, the court must permit anyone to intervene who: (1) is given an
       unconditional right to intervene by a federal statute; or (2) claims an interest relating to
       the property or transaction that is the subject of the action, and is so situated that
       disposing of the action may as a practical matter impair or impede the movant’s ability to
       protect its interest, unless existing parties adequately represent that interest.

       (b) PERMISSIVE INTERVENTION.

       (1) In General. On timely motion, the court may permit anyone to intervene who: (A) is
       given a conditional right to intervene by a federal statute; or (B) has a claim or defense
       that shares with the main action a common question of law or fact.
       (2) By a Government Officer or Agency. On timely motion, the court may permit a
       federal or state governmental officer or agency to intervene if a party’s claim or defense
       is based on: (A) a statute or executive order administered by the officer or agency; or (B)
       any regulation, order, requirement, or agreement issued or made under the statute or
       executive order.
       (3) Delay or Prejudice. In exercising its discretion, the court must consider whether the
       intervention will unduly delay or prejudice the adjudication of the original parties’ rights.

       (c) NOTICE AND PLEADING REQUIRED.

       A motion to intervene must be served on the parties as provided in Rule 5. The motion
       must state the grounds for intervention and be accompanied by a pleading that sets out
       the claim or defense for which intervention is sought.”


                                 DATED in Buenos Aires, ARGENTINA, on February 17, 2025.




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Case 1:15-cv-02739-LAP   Document 720      Filed 02/19/25   Page 24 of 91




                             _________________________________________
                         By: Fernando G. IRAZU (pro hac vice motion pending)
                             Attorney at Law
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                             Interested Party
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                             fgirazu@gmail.com
                             +54911 3084-8080




                                   3
    Case 1:15-cv-02739-LAP                Document 720     Filed 02/19/25    Page 25 of 91




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

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PETERSEN ENERG�   A INVERSORA,                             Case No.: 1-15-C-V-02739 (LAP)
S.A.U. and PETERSEN ENERG�A, S.A.U.,

                           Plaintiffs,                     The Honorable Loretta A. Preska

                           v.

ARGENTINE REPUBLIC and YPF S.A.

                          Defendants

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ETON PARK CAPITAL MANAGEMENT,                              Case No.: 1-16-C-V-08569 (LAP)
LP, ETON PARK MASTER FUND, LTD.,
and ETON PARK FUND, L.P.,

                          Plaintiffs,

                          v.

ARGENTINE REPUBLIC and YPF S.A.

                         Defendants

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              AFFIDAVIT OF REPUBLICAN ACTION FOR ARGENTINA’S
                       EX-PARTE MOTION TO INTERVENE

        Pursuant to Local Civil Rule 6.1(d), this motion to intervene is submitted on an ex-parte

basis in tandem with RA4ARG’s Ex-Parte Motion for Order Pursuant to Fed. R. Civ. P.,

Rule 60, of today’s date. No previous application seeking such a relief or similar was ever made.

All of these fillings are submitted on an ex-parte basis for evident reasons: if there is a formal
    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25       Page 26 of 91




criminal investigation at the international level out of the United States as requested therein,

involving former and current government officers and officials of the Republic of Argentina

and/or YPF, including the very same parties to these legal proceedings and their associates, none

of it should be known to any those parties prior to the US legal system making a formal

determination as to the right course of action. Past and/or present officers and officials of the

existing parties in the legal conflict before this Court, to a larger or lesser extent, are key subjects

of such criminal investigation as well as any eventual indictments and prosecution.


        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


                                   DATED in Buenos Aires, ARGENTINA, on February 17, 2025.




                                        _________________________________________
                                    By: Fernando G. IRAZU (pro hac vice motion pending)
                                        Attorney at Law
                                        Republican Action for Argentina, Inc.
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    Case 1:15-cv-02739-LAP                Document 720     Filed 02/19/25    Page 27 of 91




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

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PETERSEN ENERG�   A INVERSORA,                             Case No.: 1-15-C-V-02739 (LAP)
S.A.U. and PETERSEN ENERG�A, S.A.U.,

                           Plaintiffs,                     The Honorable Loretta A. Preska

                           v.

ARGENTINE REPUBLIC and YPF S.A.

                          Defendants

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ETON PARK CAPITAL MANAGEMENT,                              Case No.: 1-16-C-V-08569 (LAP)
LP, ETON PARK MASTER FUND, LTD.,
and ETON PARK FUND, L.P.,

                          Plaintiffs,

                          v.

ARGENTINE REPUBLIC and YPF S.A.

                         Defendants

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   REPUBLICAN ACTION FOR ARGENTINA INC.’S MEMORANDUM OF LAW
           IN SUPPORT OF EX-PARTE MOTION TO INTERVENE




February 17, 2025
       Case 1:15-cv-02739-LAP     Document 720       Filed 02/19/25    Page 28 of 91




                                  TABLE OF CONTENTS


         Table of Authorities…………………………………………………………………..…..ii

I.       Introduction: Alleged International Criminal Scheme and Factual Context…...………....1

II.      Legal Standing: Republican Action for Argentina, Inc…………………………………...2

III.     Argument: Intervention…………………………………………………………………...6

         a. Applicable Normative…………………………………………………………………6

         b. Intervention As of Right………………………………………………………………7

         c. Permissive Intervention……………………………………………………………...10

IV.      Conclusion and Relief……………………………………………………………………12

         Certification……………………………………………………………………………...13




                                             i
   Case 1:15-cv-02739-LAP         Document 720       Filed 02/19/25    Page 29 of 91




                                TABLE OF AUTHORITIES

Cases

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1990)……………………………………………………………………………………………....9
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1996)………………………………………………………………………………………………9
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Cir. 1987)………………………………………………………………………………………….9

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F.3d 837, 845 (10th Cir. 1996)…………………………………………………………………....9
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(Little Sisters of the Poor)…………………………………………………………………………9
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United States Postal Service v. Brennan, 579 F.2d 188, 192 (2d Cir. 1978)…………………….10
Steves & Sons, Inc. v. Jedlwen, Inc., 323 F.R.D. 553, 561 (E.D. Va. 2018)…………………….10

Yang v. Kellner, 2020 WL 2115412, at *1 (S.D.N.Y. May 3, 2020) (quoting Olin Corp. v.
Lamorak Ins. Co., 325 F.R.D. 85, 87 (S.D.N.Y. 2018))…………………………………………11
United States v. Local 683, Enterprise Ass’n, 347 F. Supp 164, 166 (S.D.N.Y. 1972)…………11
Coleman v. Cty. of Suffolk, 174 F. Supp. 3d 747, 754 (E.D.N.Y. 2016), aff’d, 685 Fed. App’x 69
(2d Cir. 2017)…………………………………………………………………………………….11
City of Chicago v. FEMA, 660 F.3d 980, 987 (7th Cir. 2011)…………………………………...11
Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1111 (9th Cir. 2002)…………………………...11



                                            ii
   Case 1:15-cv-02739-LAP       Document 720      Filed 02/19/25    Page 30 of 91




Acts and Rules

Foreign Corrupt Practices Act (FCPA)……………………………………………………...….2, 3
Racketeer Influenced and Corrupt Organizations Act (RICO)…………………………………2, 3
Fed. R. Civ. P., Rule 24………..……………………………………….…1, 6, 7, 8, 10, 11, 12, 13
Fed. R. Civ. P., Rule 60…………..………………………………………...…6, 7, 8, 9, 10, 11, 13

Fed. R. Civ. P., Rule 5……………………..…………………………….………………………13
Local Civil Rule 6.1(d).……………………………………………………………………….…13
Individual Practice Rules LAP, Rule 2…………………………………………..…………..13, 14

Doctrine

Arbastkaya, Maria, Mialon, Hugo, “The Impact of Foreign Corrupt Practices Act on
Competitiveness, Bribery, and Investment”, 22(1) American Law and Economics Association,
April 2020, 105-126……………………………………………………………………………….3

Kennedy, John E, “Let’s All Join In: Intervention Under Federal Rule 24”, 57 Kentucky Law
Journal 3, Art. 2, 1969, 329-381……………………………………………………………….....8

Garner, Amy M., “An Attempt to Intervene in the Confusion: Standing Requirements for Rule
24 Intervenors”, 69 University of Chicago Law Review 681, 2002, 703……………………..…12



                                         * * *




                                          iii
    Case 1:15-cv-02739-LAP          Document 720        Filed 02/19/25      Page 31 of 91




       I.      Introduction: Alleged International Criminal Scheme and Factual Context.

       Republican Action for Argentina, Inc. (“RA4ARG”) hereby seeks to intervene as an

interested party to protect its own interests in the above-captioned actions, which cannot be

adequately sheltered or simply propelled by any other party inasmuch they do relate to alleged

criminal activity embroiling the parties of the very same legal conflict before this Court (Fed. R.

Civ. P., Rule 24(a)–(b)). The Argentinean Nation and its citizens, their rights to an effective

administration of justice precluding an award fruit of alleged criminal activity on this Court and

at the international level, are in practice protected on an objective basis by RA4ARG.

       Such an ex-parte claim compels the formal intervention of the Department of Justice

(DOJ) and any other relevant agencies via a direct ruling from Your Honor –against any eventual

directive indicating otherwise–, in order to conduct a proper investigation of the following prima

facie international criminal scheme with US ramifications via these legal proceedings:

       The “nationalization” of YPF was a two-step process for the benefit of the Kirchner and
       Eskenazi Families. To begin with, the Kirchner Family compelled YPF’s private
       controlling shareholder, the Spanish energy company Repsol, to sell a 25% stake to their
       figurehead, the Eskenazi Family. The latter, foreign to the energy sector, did not invest a
       single cent of equity in this multi-billion-dollar transaction. Everything was financed
       through various loans of approximately $3.4 billion, which were going to be repaid via
       dividends of YPF. Repsol mistakenly understood the Kirchner Family was satisfied with
       such a transaction and the new status quo. In fact, the Kirchner Family subsequently
       triggered the political decision to nationalize YPF by taking Repsol’s controlling stake
       but excluding the stake held by their alleged figurehead, the Eskenazi Family. At this
       juncture no more dividends were paid, including to the Eskenazi Family. This caused the
       Eskenazi Family to default those loans and their for-the-occasion investment vehicle in
       YPF –the Petersen Group companies– went bankrupt in Spain –the jurisdiction where
       those companies had been established just before executing this transaction and solely to
       that effect. As a result, the Eskenazi Family’s 25% stake reverted back to their lenders:
       6% to Repsol and 19% to financial lenders. Criminal complaints were filed in Argentina
       –still ongoing– against various parties involved as a result of this nefarious plot.1 The


1
  Criminal complaints before Argentinean Federal Judge Ariel Lijo, Docket No. 3518/2006, “NN
/about criminal investigation”, Federal Criminal Court No. 4, Buenos Aires, Argentina, were
filed by former congresswoman Elisa M. A. Carrió in 2006, 2012 (amended and expanded), and
2023 (amended and expanded as a result of Your Honor’s $16.1 billion award against the
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   Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 32 of 91




       Eskenazi Family –once more, the alleged figurehead of the Kirchner Family– entered into
       an agreement with the English fund Burford Capital and its US counterpart Eton Park
       Management to finance and pursue these expensive legal proceedings and ultimately split
       the $16.1 billion plus award (30/70 split). In such a way, the aforesaid parties resorted to
       the US legal system in concert against the Republic of Argentina and YPF by seeking
       compensation before Your Honor. Burford Capital has already monetized part of its own
       share in such award to undisclosed third-party investors.

       As a result of such factual context, RA4ARG hereby alleges an international criminal

conspiracy and/or scheme impacting these legal proceedings at the core, in the sense of turning

the US legal system –the judgments rendered by Your Honor– into a conduit to consummate

fraud and money laundering, which as a whole deserves proper investigation and eventual

indictments under the Foreign Corrupt Practices Act (FCPA) as well as the Racketeer Influenced

and Corrupt Organizations Act (RICO), among any other applicable statutes.

       As further discussed below, RA4ARG does satisfy the normative requirements for both

intervention as of right and permissive intervention; and RA4ARG should be allowed to

intervene as an interested party to advance the interests of justice that would otherwise lack any

advocacy, including the core national and strategic interests of the United States of America.2


       II.     Legal Standing: Republican Action for Argentina, Inc.


       RA4ARG is a US charitable, tax-exempt entity, with the specific purpose of

“strengthening [Argentina’s] republican institutions with democratic participation, with the goal

of fostering judicial independence and integrity in public office, while also advocating for



Republic of Argentina). Ms. Carrió has been a stalwart fighter against public-driven corruption
in Argentina, and some of his complaints have secured criminal sentences against corrupt
politicians, including the former President and Vice president Cristina F. de Kirchner and some
of her associates.
2
  Understanding the US national and strategic interests as those related to the safety of the
American population, the expansion of economic and business endeavors, as well as the
promotion and defense of the values conforming the American way of life rooted in the
republican system of government with democratic participation.
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    Case 1:15-cv-02739-LAP          Document 720        Filed 02/19/25      Page 33 of 91




personal rights and free-market economy.”3 Indeed, the clear purpose of fighting government-

related corruption –to shelter the integrity of public office–, in connection with crimes ranging

from money laundering to terrorism on a cross-border basis –expansive toward jurisdictions

other than Argentina–, was addressed in particular by RA4ARG to attain its final determination

letter by the Internal Revenue Services. 4

       It is worth noting that fostering corruption at the international level does not enhance

profitability of American companies, it rather weakens them, especially if the FCPA is not

applicable to foreign firms –when it does via similar normative, it increases foreign investment

and business standards in host countries–.5 As in the case of democracy, corruption hinders the

free-market economy by making it unsustainable, because integrity is the foundation of any true

free endeavor.6 Any idea to the contrary is merely flawed and a disfavor to American interests at

home and abroad. The issue is not about allowing US companies to bribe foreign officials freely,

rather deterring such criminal practices whenever possible around the world –current American

law of higher order dictates so–.

       To begin with, from the perspective of US courts such a commendable policy-effort

reasonably implies forbidding foreign and US firms alike to financially benefit, within the legal

system, from sanctionable international criminal schemes under FCPA and/or any criminal




3
  Exhibit 1: Certificate of Incorporation (stamped) of Republican Action for Argentina, Inc.
4 Exhibit 2: 12/18/2024 Determination Letter of the Internal Revenue Services concerning
Republican Action for Argentina, Inc., along with 12/14/2024 Republican Action for Argentina,
Inc.’s response to 11/19/2024 Determination Letter Request.
5 Arbastkaya, Maria, Mialon, Hugo, “The Impact of Foreign Corrupt Practices Act on

Competitiveness, Bribery, and Investment”, 22(1) American Law and Economics Association,
(April 2020), 105-126.
6 “Human rights can only be assured among a virtuous people.” Cfr. George Washington to

Marquis De Lafayette, February 7, 1788, John C. Fitzpatrick, ed., The Writings of George
Washington, U. S. Government Printing Office, Washington D. C., 1939, 29:410.
                                               3
    Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25       Page 34 of 91




statutes of similar scope. In sync with the factual context outlined above, RA4ARG is arguing

the $16.1 billion plus award via Court decree is the end-result of such sort of criminal activity

this country has abhorred in its federal criminal legislation for many decades.

       It should be also noted that under Argentinean law, RA4ARG could be entitled to file and

prosecute any criminal action concerning the scheme outlined above in such jurisdiction, as long

as it would do so based on its own status and purpose as querellante or private prosecutor –even

without the procedural or accusatory legal impulse of the State– upon the commission of “grave

violations to human rights when its corporate purpose is directly linked to the rights deemed

harmed and [RA4ARG is] registered according to law.”7

       As the Argentinean Supreme Court of Justice stated,8 the concept of human rights is

extensive to the economic wellbeing of the nation, especially when the latter can be

compromised as a result of an international criminal scheme –so-called crimes of public order or

action perpetrated by government officials and their associates at various levels– that results in a

$16.1 billion plus award against the Republic of Argentina.

       Historically, Argentinean federal criminal courts had been reluctant to open up the

prosecutorial role to foundations and civil associations –as if such a role were to be

“privatized”–, yet the official stance notably changed for the better not only because the

aforesaid legal provision allows it but also as a result of undue “political influence” on the

judiciary –undue pressure on federal prosecutors and judges– with respect to proceedings



7
  Argentinean Federal Criminal Procedure Code, Article 84.b., Right to Prosecute; Argentinean
National Criminal Procedure Code, Articles 82, 82 bis, Right to Prosecute.
8
  “…It is also a settled principle that, in situations of extreme need or grave institutional crises,
such obligations cannot be fulfilled to the extent of suppressing essential services that would
affect the basic rights of its citizens. This has been equally reflected in various international
treaties, of constitutional stature, that oblige the National State to comply with a minimum
standard of human rights.”, Argentinean Supreme Court of Justice, Fallos 328:690.
                                                4
    Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 35 of 91




ranging from Marxist terrorism from the 70s to plain corruption by former President Cristina F.

de Kirchner and others.

        In the first case, Asociación Defensores de Derechos Humanos de Latinoamérica was

recently admitted as querellante in the 1976 bombing of the Buenos Aires Police Headquarters’

Cafeteria, where more than a hundred people were injured and many died, including children

–former Marxist terrorists Mario Firmenich, Horacio Verbitsky and others remain tied to such

unforgivable and still unsanctioned act of terrorism (not subject to any statute of limitations),

among similar others–.9 In the second case, Fundación Bases was recently admitted as

querellante in some money laundering proceedings against former President Cristina F. de

Kirchner –structurally not much different from the overall standard practices displayed by the

Kirchner Family at YPF with assistance from the Eskenazi Family (Grupo Petersen), and

ultimately the associates of the latter–.10

        At the personal level, none of the founders of RA4ARG have any political exposure

whatsoever either in the United States or Argentina. Two of them are educators and lawyers and

the third one is an agribusiness entrepreneur. RA4ARG focuses on specific legal cases that fit its

core purpose regardless of ideology and political inclinations. The pipeline of cases over the last

few years at the local and international levels has included criminal complaints due to

governmental corruption, abuse of power, as well as the violation of duties of a public servant;

discrimination against judges and undue influence affecting the independence of the judiciary;


9
  https://www.lanacion.com.ar/politica/montoneros-como-fue-el-atentado-al-comedor-de-la-
policia-federal-que-provoco-24-muertos-en-1976-nid19122024/;
https://www.lanacion.com.ar/politica/la-camara-federal-ordeno-la-indagatoria-de-mario-
firmencih-por-la-voladura-del-comedor-de-la-policia-nid19122024/;
https://www.lanacion.com.ar/politica/giro-en-la-jurisprudencia-al-menos-tres-causas-de-peso-
podrian-reactivarse-tras-el-fallo-por-el-nid01012025/
10
   https://www.lanacion.com.ar/politica/ruta-del-dinero-k-la-ong-que-promueve-la-investigacion-
contra-cristina-kirchner-insiste-en-apartar-nid31102024/
                                                5
      Case 1:15-cv-02739-LAP        Document 720         Filed 02/19/25      Page 36 of 91




unethical practices in the legal profession also violating the independence and autonomy of

judges as well as the unconstitutionality of normative preventing the prosecution of such

misdeeds; the unconstitutionality of discriminatory normative concerning the selection,

supervision and removal of judges; the right to freedom of speech; the right to association and

religious freedom; and ancillary.11 We are technicians of the law and servants in the field of

education.

         Regarding legal standing under Fed. R. Civ. P, Rule 24, it is conditioned upon no other

legal remedy available, including amicus curiae, which is the case herein. See Feller v. Brock,

802 F.2d 722, 729 (4th Cir. 1986) (“Participation by the intervenors as amicus curiae is not

sufficient to protect against these practical impairments. Amicus participants are not able to

make motions or to appeal the final judgment in the case.”); see Brooks v. Flagg Bros., Inc., 63

F.R.D. 409, 414–15 (S.D.N.Y. 1974).

          It is then evident that in the case of RA4ARG there is no other legal remedy when the

relief is based on Fed. R. Civ. P., Rule 60, as a result of an alleged international criminal scheme

impacting this Court as well as various other reasons of institutional nature entertained in a

specific ex-parte motion to that effect. As indicated above, it is also evident that no other party

can legitimately advance the interests protected by RA4ARG because of the conflict of interests

within potential criminal proceedings against the parties involved herein.


         III.   Argument: Intervention.


         a.     Applicable Normative.




11
     www.republicanactionforargentina.org
                                               6
   Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25       Page 37 of 91




               Fed. R. Civ. P., Rule 24. Intervention.


               “(a) INTERVENTION OF RIGHT.

               On timely motion, the court must permit anyone to intervene who: (1) is given an
               unconditional right to intervene by a federal statute; or (2) claims an interest
               relating to the property or transaction that is the subject of the action, and is so
               situated that disposing of the action may as a practical matter impair or impede
               the movant’s ability to protect its interest, unless existing parties adequately
               represent that interest.

               (b) PERMISSIVE INTERVENTION.

               (1) In General. On timely motion, the court may permit anyone to intervene who:
               (A) is given a conditional right to intervene by a federal statute; or (B) has a claim
               or defense that shares with the main action a common question of law or fact.
               (2) By a Government Officer or Agency. On timely motion, the court may permit
               a federal or state governmental officer or agency to intervene if a party’s claim or
               defense is based on: (A) a statute or executive order administered by the officer or
               agency; or (B) any regulation, order, requirement, or agreement issued or made
               under the statute or executive order.
               (3) Delay or Prejudice. In exercising its discretion, the court must consider
               whether the intervention will unduly delay or prejudice the adjudication of the
               original parties’ rights.

               (c) NOTICE AND PLEADING REQUIRED.

               A motion to intervene must be served on the parties as provided in Rule 5. The
               motion must state the grounds for intervention and be accompanied by a pleading
               that sets out the claim or defense for which intervention is sought.”

       b.      Intervention As of Right.


       RA4ARG claims an unconditional right to intervene in these legal proceedings according

to its own purpose subject to federal statute and review –not only in the US but also in Argentina

as explained above–, including the capacity to adequately argue on an independent basis a simile

action pursuant to Fed. R. Civ. P., Rule 60 (Fed. R. Civ. P., Rule 24(a)(1)–(2)), which will never

be pursued by the Plaintiffs against their own monetary interests and it has not been pursued by

the Defendants against some of their past and/or current officials and officers based on alleged


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     Case 1:15-cv-02739-LAP          Document 720         Filed 02/19/25      Page 38 of 91




criminal activity, among various other concerns surrounding the incentives of certain policy-

making internationally out of this case.

       In order to seek relief pursuant to Fed. R. Civ. P, Rule 60, there is a need for a final

judgment that, upon the different scenarios per its own terms, calls for grounds that justify such

relief, including the alleged international criminal scheme being consummated by final Court

decree as well as the material magnitude of the $16.1 billion plus award on the entire

Argentinean population and the forward-looking impact of such a legal precedent (Fed. R. Civ.

P., Rule 60(b)(6), (d)(1)–(3)). Without a doubt, the eventual stare decisis effects of this Court’s

final ruling give room for intervention as of right. See Oneida Indian Nation of Wis. v. New

York, 732 F.2d 261, 265-66 (2d Cir. 1984).

       Although the Court is certainly vested with discretion to rule on RA4ARG’s reasonable

and well-grounded request, it is hereby claimed that such a jurisdictional power is by definition

at odds with its potential abuse, in particular when it is well-settled precedent that Fed. R. Civ.

P., Rule 24(a) must be liberally interpreted by making intervention as of right appropriate even if

the proposed intervenor’s showing is weaker as to others. See United States v. Hooker Chems. &

Plastics Corp., 749 F.2d 968, 983 (2d Cir. 1984).

       Beyond some mere academic exercise, it is also proper to notice the statutory evolution

from the 1938 version of Rule 24 to its 1966 version and onwards, to the very least, confirming

the legislature intent to open up the federal jurisdictional threshold to third-parties12 who in fact

do have a legitimate interest to intervene in the conflict at hand, clearly when the existing parties

have not and will not shelter it for whatever the reasons.




12
  Kennedy, John E, “Let’s All Join In: Intervention Under Federal Rule 24”, 57 Kentucky Law
Journal 3, Art. 2, 1969, 329-381.
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   Case 1:15-cv-02739-LAP            Document 720        Filed 02/19/25       Page 39 of 91




       Indeed, RA4ARG has a “direct, substantial, and legally protectable” interest in the core

matter of this legal dispute. See Washington Elec. Coop. v. Massachusetts Mun. Wholesale Elec.

Co., 922 F.2d 92, 97 (2d Cir. 1990). Such an interest is the opposing “mirror-image” of the

Plaintiff’s interests as well as some of the Defendant’s past and current officials and officers’

interests. To the prior, see Builders Ass’n of Greater Chicago v. City of Chicago, 170 F.R.D.

435, 440–41 (N.D. Ill. 1996). And to the latter, it has been stated that “when a party to an

existing suit is obligated to serve two distinct interests, which, although related, are not

identical, another with one of those interests should be entitled to intervene.” See United

Guaranty Residential Ins. Co. v. Philadelphia Sav. Fund Soc’y, 819 F.2d 473, 475 (4th Cir.

1987); Kleissler v. United States Forest Service, 157 F.3d 964, 972 (3d Cir. 1998); Coalition of

Arizona/New Mexico Counties for Stable Econ. Growth v. Dep’t of Interior, 100 F.3d 837, 845

(10th Cir. 1996).

       Although RA4ARG is fully aligned with the interests of the Argentinean people as well

as the national and strategic interests of the United States of America, within the realm of a

motion pursuant to Fed. R. Civ. P., Rule 60 –the grounds precisely outlined under such

provision– at this procedural juncture, such interests and those of individual nature within the

spheres of the Defendants diverge in the context of alleged criminal activity by the prior. As a

principle of law vouching for intervention in the context of divergent, conflictive and/or

dissimilar interests, see United States v. Hooker Chemicals & Plastics Corp., 749 F.2d at 985

(2nd Cir. 1984); Stuart v. Huff, 706 F.3d 345, 352 (4th Cir. 2013); Commonwealth of

Pennsylvania v. President of the United States, 888 F.3d 52 (3d Cir. 2018) (Little Sisters of the

Poor); Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972).




                                                9
   Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 40 of 91




       Unquestionably, from a practical standpoint RA4ARG and the entire Argentinean

population “stand to gain or lose by the direct legal operation” of this Court’s final ruling. See

Teague v. Bakker, 931 F.2d 259, 261 (4th Cir. 1991). Therefore, under the precise timing of

these very own proceedings with now a final ruling framed per Fed. R. Civ. P., Rule 60, the

pleaded intervention by RA4ARG is timely via proper motion to that effect, either as a matter of

right or permissive leeway from the Court (Fed. R. Civ. P., 24(a)–(b), Fed. R. Civ. P., Rule 60)).


       c.      Permissive Intervention.


       A core consideration of permissive intervention under Fed. R. Civ. P., Rule 24(b) is

“whether the intervention will unduly delay or prejudice the adjudication of the rights of the

original parties.” United States Postal Service v. Brennan, 579 F.2d 188, 192 (2d Cir. 1978).

RA4ARG’s intervention is indeed timely because in order to claim the full consummation of

fraud upon the Court it is necessary to have a final judgment by the latter –it could have not

happened in full before– as well as a legal precedent that is consistent with current US legislative

goals fostering integrity and transparency in business dealings around the world, needless to say

a deterrence not to benefit via Court decree from alleged criminal activity as in the present case

before Your Honor. “Rule 24(b) mentions only undue delay; normal delay does not require

denying intervention, because adding parties to a case almost always results in some delay.” See

Steves & Sons, Inc. v. Jedlwen, Inc., 323 F.R.D. 553, 561 (E.D. Va. 2018).

       Moreover, RA4ARG’s intervention is not delaying these on-going legal proceedings –in

principle geared for long appeals independent of RA4ARG’s pleadings–, rather seeking to vacate

the judgment that already adjudicated rights to the Plaintiffs via a $16.1 billion plus award in the

form of a valid motion pursuant to Fed. R. Civ. P., Rule 60. In other words, RA4ARG is not

delaying these civil proceedings because it is arguing that they are criminal in nature before a US

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    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25       Page 41 of 91




court and its final judgment should be vacated entirely. In this sense, RA4ARG is timely and

proper insofar its purpose is foreign to the underlying civil dispute, yet critical to eliminate it at

inception due to its alleged criminal poisonous root.

        As a sheer fact, RA4ARG does have a “claim or defense that shares with the main civil

action a common question of law or fact” (Fed. R. Civ. P., Rule 24(b)(1)(B)), yet with very

different outcomes never advocated before Your Honor, as a result of a motion pursuant to Fed.

R. Civ. P., Rule 60, with specific grounds that presuppose a final judgment subject to it.

        As a whole, RA4ARG does satisfy the requirements for permissive intervention. Indeed,

this Court has repeatedly said that Fed. R. Civ. P., Rule 24(b) “is to be liberally construed.” See

Yang v. Kellner, 2020 WL 2115412, at *1 (S.D.N.Y. May 3, 2020) (quoting Olin Corp. v.

Lamorak Ins. Co., 325 F.R.D. 85, 87 (S.D.N.Y. 2018)). As opposed to Fed. R. Civ. P., Rule

24(a)(2), Rule 24(b) does not ask whether the movant has an interest at stake in the litigation.

See United States v. Local 683, Enterprise Ass’n, 347 F. Supp 164, 166 (S.D.N.Y. 1972).

Furthermore, Fed. R. Civ. P., Rule 24(b) does not inquire as to whether the original parties

adequately represent the movant’s interests. See Coleman v. Cty. of Suffolk, 174 F. Supp. 3d 747,

754 (E.D.N.Y. 2016), aff’d, 685 Fed. App’x 69 (2d Cir. 2017). On the contrary, “Rule 24 (b) is

just about economy in litigation.” See City of Chicago v. FEMA, 660 F.3d 980, 987 (7th Cir.

2011). And judicial economy is highly served via a motion pursuant to Fed. R. Civ. P., Rule 60.

        In short, the legal standard or bar for permissive intervention is lower than the one for

intervention as of right, and, as elaborated herein, RA4ARG does meet the threshold imposed in

both scenarios by Fed. R. Civ. P., Rule 24(a)–(b). Please do note that “the magnitude of this

case is such that [RA4ARG’s] intervention will contribute to the equitable resolution of this

case.” See Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1111 (9th Cir. 2002).



                                                11
     Case 1:15-cv-02739-LAP          Document 720       Filed 02/19/25      Page 42 of 91




       At the academic level it has been argued that there is some confusion and disparities as to

what standard should apply regarding permissive intervention, yet clarifying such requirements

are clearly met by RA4ARG to access the jurisdictional threshold as an interested party in the

present legal conflict as follows:

       “The courts should adopt a uniform standard for granting standing for permissive
       intervention in a suit. That standard should allow a party to intervene, so long as (1) the
       would-be intervenor meets the requirements of Rule 24 and (2) the original parties
       remain in the suit and satisfy the requirements for standing. This rule is consistent with
       the language of Rule 24(b), the history and policy goals of permissive intervention, and
       the Federal Rules of Civil Procedure. In many cases, the rule would allow voices to be
       heard in a suit that would otherwise be silenced. Finally, a uniform rule would avoid
       punishing would-be intervenors based solely on where the original plaintiff filed the suit.
       A consistent rule would also recognize that the importance of allowing intervenors to be
       heard can be reconciled with the concerns of efficiency and protection of the rights of the
       original parties as guaranteed by Rule 24(b). Moreover … courts would recognize that
       allowing legitimate grievances to be heard is too important to be determined by district
       court boundaries.”13

       RA4ARG pleads the Court to allow it to permissively intervene and share its legal and

financial experience also in dealing with financial players, the Republic of Argentina, and YPF.14


       IV.     Conclusion and Relief.


       As a result of the aforementioned, RA4ARG claims to have legal standing to intervene in

these legal proceedings as an interested party, within its equitable and just goals as a tax-exempt

charitable entity under domestic law, on behalf of all Argentinean citizens and in tandem with

the very same national and strategic interest of the United States of America. RA4ARG


13
   Garner, Amy M., “An Attempt to Intervene in the Confusion: Standing Requirements for Rule
24 Intervenors”, 69 University of Chicago Law Review 681, 2002, 703.
14
   The undersigned practiced as a lawyer with Clifford Chance and Brown & Wood (now Sidley
Austin) out of New York City advising financial institutions and governments in US public
offerings, as well as worked as an investment banker for many years advising Latin American
governments and companies like in fact YPF (structuring its $1 billion block trade of the
Employee Participation Program in the US in 1997, among others) as to their accessing the US
capital markets as well as M&A activity.
                                              12
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 43 of 91




respectfully pleads the Court to allow it to intervene as an interested party herein (Fed. R. Civ.

P., Rule 24(a)–(b), Fed. R. Civ. P., Rule 60). It is hereby reminded that RA4ARG’s motion to

intervene has been submitted on an ex-parte basis with proper affidavit (Fed. R. Civ. P., Rule

5(D), Fed. R. Civ. P., Rule 24(c), Local Civil Rule 6.1(d)). In addition, RA4ARG remains at the

Court’s disposal in case oral arguments are convenient and/or necessary to rule on the issues at

hand (Individual Practice Rules LAP, Rule 2(D)).


                                  DATED in Buenos Aires, ARGENTINA, on February 17, 2025.




                                          _____________________________________
                                      By: Fernando G. IRAZU (pro hac vice motion pending)
                                          Attorney at Law
                                          Republican Action for Argentina, Inc.
                                          Interested Party
                                          Billinghurst 1656
                                          Buenos Aires, 1425, ARGENTINA
                                          fgirazu@gmail.com
                                          +54911 3084-8080




                                               13
   Case 1:15-cv-02739-LAP           Document 720       Filed 02/19/25     Page 44 of 91




                                     CERTIFICATION

         Pursuant to Individual Practice Rules LAP, Rule 2(B), the undersigned certifies that the
foregoing Memorandum of Law complies with all formatting requirements and contains 4,228
words.




                                             _________________________________________
                                             Fernando G. IRAZU (pro hac vice motion pending)
                                             Attorney at Law




                                              14
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 45 of 91




                  EXHIBIT 1
         Case 1:15-cv-02739-LAP               Document 720              Filed 02/19/25           Page 46 of 91

                             STATE OF NEW YORK
                            DEPARTMENT OF STATE



I hereby certify that the annexed copy for REPUBLICAN ACTION FOR
ARGENTINA INC., File Number 240306002475 has been compared with the
original document in the custody of the Secretary of State and that the same is
true copy of said original.




                                                        WITNESS my hand and official seal of the
                                                        Department of State, at the City of Albany,
                                                        on March 06, 2024.




                                                        Brendan C. Hughes
                                                        Executive Deputy Secretary of State




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Case 1:15-cv-02739-LAP      Document 720             Filed 02/19/25      Page 47 of 91




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Case 1:15-cv-02739-LAP      Document 720             Filed 02/19/25      Page 48 of 91




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Case 1:15-cv-02739-LAP      Document 720             Filed 02/19/25      Page 49 of 91




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Case 1:15-cv-02739-LAP      Document 720             Filed 02/19/25      Page 50 of 91




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Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 51 of 91




                  EXHIBIT 2
             Case 1:15-cv-02739-LAP          Document 720         Filed 02/19/25       Page 52 of 91


         Department of the Treasury                                           Date:
         Internal Revenue Service                                              12/18/2024
         Tax Exempt and Government Entities                                   Employer ID number:
         P.O. Box 2508                                                         XX-XXXXXXX
         Cincinnati, OH 45201                                                 Person to contact:
                                                                               Name: Paul F Cappel II
                                                                               ID number: 1010762
                                                                               Telephone: (877) 829-5500
         REPUBLICAN ACTION FOR ARGENTINA INC                                  Accounting period ending:
         210 EAST 68TH STREET 14 H                                             December 31
         NEW YORK, NY 10065-6047                                              Public charity status:
                                                                               170(b)(1)(A)(vi)
                                                                              Form 990 / 990-EZ / 990-N required:
                                                                               Yes
                                                                              Effective date of exemption:
                                                                               March 6, 2024
                                                                              Contribution deductibility:
                                                                               Yes
                                                                              Addendum applies:
                                                                               No
                                                                              DLN:
                                                                               26053478003764


Dear Applicant:
We're pleased to tell you we determined you're exempt from federal income tax under Internal Revenue Code
(IRC) Section 501(c)(3). Donors can deduct contributions they make to you under IRC Section 170. You're also
qualified to receive tax deductible bequests, devises, transfers or gifts under Section 2055, 2106, or 2522. This
letter could help resolve questions on your exempt status. Please keep it for your records.
Organizations exempt under IRC Section 501(c)(3) are further classified as either public charities or private
foundations. We determined you're a public charity under the IRC Section listed at the top of this letter.
If we indicated at the top of this letter that you're required to file Form 990/990-EZ/990-N, our records show
you're required to file an annual information return (Form 990 or Form 990-EZ) or electronic notice (Form
990-N, the e-Postcard). If you don't file a required return or notice for three consecutive years, your exempt
status will be automatically revoked.
If we indicated at the top of this letter that an addendum applies, the enclosed addendum is an integral part of
this letter.
For important information about your responsibilities as a tax-exempt organization, go to www.irs.gov/charities.
Enter "4221-PC" in the search bar to view Publication 4221-PC, Compliance Guide for 501(c)(3) Public
Charities, which describes your recordkeeping, reporting, and disclosure requirements.
                                                         Sincerely,


                                                         Stephen A. Martin
                                                         Director, Exempt Organizations
                                                         Rulings and Agreements


                                                                                              Letter 947 (Rev. 2-2020)
                                                                                              Catalog Number 35152P
     Case 1:15-cv-02739-LAP     Document 720    Filed 02/19/25    Page 53 of 91

 DEPARTMENT OF THE TREASURY
 INTERNAL REVENUE SERVICE
 CINCINNATI OH    45999-0023

                                                      Date of this notice:   03-07-2024

                                                      Employer Identification Number:
                                                      XX-XXXXXXX

                                                      Form:   SS-4

                                                      Number of this notice:      CP 575 E
      REPUBLICAN ACTION FOR ARGENTINA INC
      210 E 68TH ST APT 14H
      NEW YORK, NY 10065                              For assistance you may call us at:
                                                      1-800-829-4933


                                                      IF YOU WRITE, ATTACH THE
                                                      STUB AT THE END OF THIS NOTICE.




              WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

     Thank you for applying for an Employer Identification Number (EIN). We assigned
you EIN XX-XXXXXXX. This EIN will identify your entity, accounts, tax returns, tax
returns, and documents, even if you have no employees. Please keep this notice in your
permanent records.

     Taxpayers request an EIN for business and tax purposes. Some taxpayers receive CP575
notices when another person has stolen their identity and are operating using their
information. If you did not apply for this EIN, please contact us at the phone number
or address listed on the top of this notice.

     When filing tax documents, making payments, or replying to any related correspondence,
it is very important that you use your EIN and complete name and address exactly as shown
above. Any variation may cause a delay in processing, result in incorrect information in
your account, or even cause you to be assigned more than one EIN. If the information is
not correct as shown above, please make the correction using the attached tear-off stub
and return it to us.

     When you submitted your application for an EIN, you checked the box indicating
you are a non-profit organization. Assigning an EIN does not grant tax-exempt status
to non-profit organizations. Publication 557, Tax-Exempt Status for Your
organization, has details on the application process, as well as information on
returns you may need to file. To apply for recognition of tax-exempt status,
organizations must complete an application on one of the following forms: Form 1023,
Application for Recognition of Exemption Under Section 501(c)(3) of the Internal Revenue
Code; Form 1023-EZ, Streamlined Application for Recognition of Exemption Under Section
501(c)(3) of the Internal Revenue Code; Form 1024, Application for Recognition Under
Section 501(a); or Form 1024-A, Application for Recognition of Exemption Under Section
501(c)(4) of the Internal Revenue Code.

     Nearly all organizations claiming tax-exempt status must file a Form 990-series
annual information return (Form 990, 990-EZ, or 990-PF) or notice (Form 990-N)
beginning with the year they legally form, even if they have not yet applied for or
received recognition of tax-exempt status.

     If you become tax-exempt, you will lose tax-exempt status if you fail to file a
required return or notice for three consecutive years, unless a filing exception applies
to you (search www.irs.gov for Annual Exempt Organization Return: Who Must File). We start
calculating this three-year period from the tax year we assigned the EIN to you. If that
first tax year isn't a full twelve months, you're still responsible for submitting a
return for that year. If you didn't legally form in the same tax year in which you
obtained your EIN, contact us at the phone number or address listed at the top of this
letter. For the most current information on your filing requirements and other important
information, visit www.irs.gov/charities.
            Case 1:15-cv-02739-LAP      Document 720      Filed 02/19/25    Page 54 of 91
     (IRS USE ONLY)     575E                 03-07-2024    REPU   O   9999999999   SS-4




     IMPORTANT REMINDERS:

     *   Keep a copy of this notice in your permanent records. This notice is issued only
         one time and the IRS will not be able to generate a duplicate copy for you. You
         may give a copy of this document to anyone asking for proof of your EIN.

     *   Use this EIN and your name exactly as they appear at the top of this notice on all
         your federal tax forms.

     *   Refer to this EIN on your tax-related correspondence and documents.

     *   Provide future officers of your organization with a copy of this notice.

     Your name control associated with this EIN is REPU. You will need to provide
     this information along with your EIN, if you file your returns electronically.

     Safeguard your EIN by referring to Publication 4557, Safeguarding Taxpayer
     Data: A Guide for Your Business.

     You can get any of the forms or publications mentioned in this letter by
     visiting our website at www.irs.gov/forms-pubs or by calling 800-TAX-FORM
     (800-829-3676).

     If you have questions about your EIN, you can contact us at the phone number or
     address listed at the top of this notice. If you write, please tear off the stub at
     the bottom of this notice and include it with your letter.

     Thank you for your cooperation.




                                 Keep this part for your records.           CP 575 E (Rev. 7-2007)

----------------------------------------------------------------------------------------------

         Return this part with any correspondence
         so we may identify your account. Please                                          CP 575 E
         correct any errors in your name or address.
                                                                                   9999999999


         Your Telephone Number   Best Time to Call   DATE OF THIS NOTICE: 03-07-2024
         (     )      -                              EMPLOYER IDENTIFICATION NUMBER: XX-XXXXXXX
         _____________________   _________________   FORM: SS-4               NOBOD




      INTERNAL REVENUE SERVICE                                REPUBLICAN ACTION FOR ARGENTINA INC
      CINCINNATI OH    45999-0023                             210 E 68TH ST APT 14H
                                                              NEW YORK, NY 10065
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 55 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 56 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 57 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 58 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 59 of 91
Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 60 of 91
    Case 1:15-cv-02739-LAP                Document 720     Filed 02/19/25     Page 61 of 91




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------x

PETERSEN ENERG�   A INVERSORA,                             Case No.: 1-15-C-V-02739 (LAP)
S.A.U. and PETERSEN ENERG�A, S.A.U.,

                           Plaintiffs,                     The Honorable Loretta A. Preska

                           v.

ARGENTINE REPUBLIC and YPF S.A.

                          Defendants

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ETON PARK CAPITAL MANAGEMENT,                              Case No.: 1-16-C-V-08569 (LAP)
LP, ETON PARK MASTER FUND, LTD.,
and ETON PARK FUND, L.P.,

                          Plaintiffs,

                          v.

ARGENTINE REPUBLIC and YPF S.A.

                         Defendants

-------------------------------------------------------x


       REPUBLICAN ACTION FOR ARGENTINA INC.’S EX-PARTE
 MOTION FOR ORDER PURSUANT TO FED. R. CIV. P, RULE 60 (b)(6), (d)(1)–(3)

        Pursuant to Fed. R. Civ. P, Rule 60 (b)(6), (d)(1)–(3), Republican Action for Argentina,

Inc. (“RA4ARG”) hereby pleads the Court to: (i) order the Department of Justice (DOJ) and any

other relevant agencies to initiate a formal criminal investigation at the international level of the

facts and parties highlighted in the accompanying Memorandum of Law; (ii) stay these legal
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 62 of 91




proceedings pending of such side criminal investigation as well as eventual indictments and

prosecution; and (iii) timely vacate the $16.1 billion plus award against the Republic of

Argentina (# 498, 9/15/2023, as well as all prior and ancillary ones to that effect) due to

institutional interests and concerns in light of international criminal activity unduly impacting the

US legal system (FRCP, Rule 60 (b)(6), (d)(1)–(3)). In light of the nature of RA4ARG’s

requested intervention, this motion is submitted on an ex-parte basis with proper affidavit (Rule

5(a)(1)(D), Local Civil Rule 6.1(d)). RA4ARG remains at the Court’s disposal if oral arguments

are deemed convenient and/or necessary to rule on the issues at hand (Individual Practice Rules

LAP, Rule 2(D)).


       Rule 60. Relief from a Judgment or Order.


       “(a) CORRECTIONS BASED ON CLERICAL MISTAKES; OVERSIGHTS AND
       OMISSIONS. The court may correct a clerical mistake or a mistake arising from
       oversight or omission whenever one is found in a judgment, order, or other part of the
       record. The court may do so on motion or on its own, with or without notice. But after an
       appeal has been docketed in the appellate court and while it is pending, such a mistake
       may be corrected only with the appellate court’s leave.

       (b) GROUNDS FOR RELIEF FROM A FINAL JUDGMENT, ORDER, OR
       PROCEEDING. On motion and just terms, the court may relieve a party or its legal
       representative from a final judgment, order, or proceeding for the following
       reasons: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly discovered
       evidence that, with reasonable diligence, could not have been discovered in time to move
       for a new trial under Rule 59(b); (3) fraud (whether previously called intrinsic or
       extrinsic), misrepresentation, or misconduct by an opposing party; (4) the judgment is
       void; (5) the judgment has been satisfied, released, or discharged; it is based on an earlier
       judgment that has been reversed or vacated; or applying it prospectively is no longer
       equitable; or (6) any other reason that justifies relief.

       (c) TIMING AND EFFECT OF THE MOTION. (1) Timing. A motion under Rule
       60(b) must be made within a reasonable time—and for reasons (1), (2), and (3) no
       more than a year after the entry of the judgment or order or the date of the proceeding.
       (2) Effect on Finality. The motion does not affect the judgment’s finality or suspend its
       operation.



                                                2
Case 1:15-cv-02739-LAP       Document 720       Filed 02/19/25    Page 63 of 91




  (d) OTHER POWERS TO GRANT RELIEF. This rule does not limit a court’s
  power to: (1) entertain an independent action to relieve a party from a judgment,
  order, or proceeding; (2) grant relief under 28 U.S.C. § 1655 to a defendant who was
  not personally notified of the action; or (3) set aside a judgment for fraud on the
  court…”


                          DATED in Buenos Aires, ARGENTINA, on February 17, 2025.




                                   _________________________________________
                               By: Fernando G. IRAZU (pro hac vice motion pending)
                                   Attorney at Law
                                   Republican Action for Argentina, Inc.
                                   Interested Party
                                   Billinghurst 1656
                                   Buenos Aires, 1425, ARGENTINA
                                   fgirazu@gmail.com
                                   +54911 3084-8080




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    Case 1:15-cv-02739-LAP                Document 720     Filed 02/19/25    Page 64 of 91




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

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PETERSEN ENERG�   A INVERSORA,                             Case No.: 1-15-C-V-02739 (LAP)
S.A.U. and PETERSEN ENERG�A, S.A.U.,

                           Plaintiffs,                     The Honorable Loretta A. Preska

                           v.

ARGENTINE REPUBLIC and YPF S.A.

                          Defendants

-------------------------------------------------------x


-------------------------------------------------------x

ETON PARK CAPITAL MANAGEMENT,                              Case No.: 1-16-C-V-08569 (LAP)
LP, ETON PARK MASTER FUND, LTD.,
and ETON PARK FUND, L.P.,

                          Plaintiffs,

                          v.

ARGENTINE REPUBLIC and YPF S.A.

                         Defendants

-------------------------------------------------------x

         AFFIDAVIT OF REPUBLICAN ACTION FOR ARGENTINA’S
    EX-PARTE MOTION FOR ORDER PURSUANT TO Fed. R. CIV. P., RULE 60

        Pursuant to Local Civil Rule 6.1(d), this motion for order pursuant to Fed. R. Civ. P.,

Rule 60, is submitted on an ex-parte basis in tandem with RA4ARG’s Ex-Parte Motion to

Intervene, of today’s date. No previous application seeking such a relief or similar was ever

made. All of these fillings are submitted on an ex-parte basis for evident reasons: if there is a
    Case 1:15-cv-02739-LAP            Document 720         Filed 02/19/25      Page 65 of 91




formal criminal investigation at the international level out of the United States as requested

therein, involving former and current government officers and officials of the Republic of

Argentina and/or YPF, including the very same parties to these legal proceedings and their

associates, none of it should be known to any those parties prior to the US legal system making a

formal determination as to the right course of action. Past and/or present officers and officials of

the existing parties in the legal conflict before this Court, to a larger or lesser extent, are key

subjects of such criminal investigation as well as any eventual indictments and prosecution.


        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


                                  DATED in Buenos Aires, ARGENTINA, on February 17, 2025.




                                        _________________________________________
                                    By: Fernando G. IRAZU (pro hac vice motion pending)
                                        Attorney at Law
                                        Republican Action for Argentina, Inc.
                                        Interested Party
                                        Billinghurst 1656
                                        Buenos Aires, 1425, ARGENTINA
                                        fgirazu@gmail.com
                                        +54911 3084-8080




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    Case 1:15-cv-02739-LAP                Document 720     Filed 02/19/25    Page 66 of 91




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

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PETERSEN ENERG�   A INVERSORA,                             Case No.: 1-15-C-V-02739 (LAP)
S.A.U. and PETERSEN ENERG�A, S.A.U.,

                           Plaintiffs,                     The Honorable Loretta A. Preska

                           v.

ARGENTINE REPUBLIC and YPF S.A.

                          Defendants

-------------------------------------------------------x


-------------------------------------------------------x

ETON PARK CAPITAL MANAGEMENT,                              Case No.: 1-16-C-V-08569 (LAP)
LP, ETON PARK MASTER FUND, LTD.,
and ETON PARK FUND, L.P.,

                          Plaintiffs,

                          v.

ARGENTINE REPUBLIC and YPF S.A.

                         Defendants

-------------------------------------------------------x


     REPUBLICAN ACTION FOR ARGENTINA INC.’S MEMORANDUM OF LAW
              IN SUPPORT OF EX-PARTE MOTION FOR ORDER
            PURSUANT TO FED. R. CIV. P., RULE 60(b)(6), (d)(1)–(3)




February 17, 2025
       Case 1:15-cv-02739-LAP   Document 720   Filed 02/19/25   Page 67 of 91




                                TABLE OF CONTENTS


         Table of Authorities…………………………………………………………………..…..ii

I.       Standard for Review…………………………..………………………………………..…1

II.      Factual Context…………………………………………………………………...……….5

III.     Legal Standing……………………………………..………………………………….....11

IV.      Legal Argument...…………………………………………………………......................12

         a. Applicable Normative……………………………………………………………..…12

         b. Legal Grounds………………………………………………………………………..13

V.       Conclusion and Relief……………………………………………………………………20

         Certification……………………………………………………………………………...22




                                        i
   Case 1:15-cv-02739-LAP        Document 720       Filed 02/19/25     Page 68 of 91




                               TABLE OF AUTHORITIES

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Tani, 282 F.3d at 1168 (citing Martella v. Marine Cooks & Stewards Union, 448 F.2d 729, 730
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(quoting Batts v. Tow-Motor Forklife Co., 66 F.3d 743, 747 (5th Cir. 1995))……………………2
Marco Destin, Inc. v. Levy, No. 23-1330 (2d Cir. Aug. 8, 2024)………………………………3, 4
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343, 355 (D.C. Cir. 2018) (quoting Comput. Pros. for Soc. Resp. v. U.S. Secret Serv., 72 F.3d
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S.A., No. 09-20621, 2009 WL 2336429 (S.D. Fla. May 29, 2009)……………………………...18
Consejo de Defensa del Estado de la Republica de Chile v. Banco de Chile, No. 109CV20614,
2009 WL 1612255 (S.D. Fla. Mar. 11, 2009)……………………………………………………18
Republic of Haiti v. Aristide, No. 05-22852, 2005 WL 3521251 (S.D. Fla. Nov. 2, 2005)…18, 19
Republic of Iran v. Pahlavi, 464 N.Y.S.2d 487 (N.Y. App. Div. 1983)…………………………19


                                            ii
   Case 1:15-cv-02739-LAP        Document 720       Filed 02/19/25     Page 69 of 91




Republic of Panama v. BCCI Holdings, 119 F.3d 935 (11th Cir. 1997)………………………...19
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banc, 862 F.2d 1355, 1360–61 (9th Cir. 1988) (en banc)……………………...………………..19

Acts and Rules

Foreign Corrupt Practices Act (FCPA)……………………………………………………......6, 16
Racketeer Influenced and Corrupt Organizations Act (RICO)……………………………………6
Fed. R. Civ. P., Rule 60………..………………………………………..….…1-5, 8, 11-15, 19-20

Fed. R. Civ. P., Rule 24…………..……………………………………….........................1, 11, 16
Fed. R. Civ. P., Rule 62.1……...…………..…………………………….…………………....1, 11
Local Civil Rule 6.1(d)……………………………………………………………………………1
Individual Practice Rules LAP, Rule 2…………………………………………..………………22

Doctrine

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                                           * * *




                                            iii
    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25     Page 70 of 91




       I.      Standard for Review


       Republican Action for Argentina, Inc. (“RA4ARG”) hereby files this motion pursuant to

Fed. R. Civ. P., Rule 60(b)(6), (d)(1)–(3), seeking relief from this Court’s judgment against the

Republic of Argentina and in favor of the Plaintiffs in the amount of $16.1 billion plus (# 498,

9/15/2023, as well as all prior and ancillary ones to that effect). RA4ARG argues the aforesaid

judgments of this Court should be set aside due to institutional interests and concerns in light of

international criminal activity engulfing the parties that unduly impact the US legal system (Fed.

R. Civ, P., Rule 60(b)(6), (d)(1)–(3)). RA4ARG pleads the Court to defer judgment on this

motion until its intervention has been ruled upon per its ex-parte motion to intervene of today’s

date (Fed. R. Civ. P., Rule 24, Rule 62.1, Local Civil Rule 6.1.d).

       Fed. R. Civ. P., Rule 60(b)(6) specifically provides “for any other reason that justifies

relief” against a judgment, order or proceeding, “but must be made within a reasonable time and

must be used sparingly as an equitable remedy to prevent manifest injustice." See United States

v. Alpine Land & Reservoir Co., 984 F.2d 1047, 1049 (9th Cir.1993); and the pleader must

demonstrate "extraordinary circumstances which prevented or rendered him unable to prosecute

[his case]." See Tani, 282 F.3d at 1168 (citing Martella v. Marine Cooks & Stewards Union, 448

F.2d 729, 730 (9th Cir. 1971).

       Attending the extraordinary circumstances surrounding the present litigation described

below, RA4ARG argues that its request for relief per Fed. R. Civ. P, Rule 60(b)(6) has been

made within the prescribed “reasonable time”, unconstrained by the one-year limitation imposed

to other grounds under Fed. R. Civ. P., Rule 60(c). The norm is clear about limiting some of its

other grounds for relief to a one-year timeframe, even when several State legislatures allow for a

two-year one or no limitation at all like in the case of overall fraud.


                                                1
    Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25       Page 71 of 91




       A plain interpretative intelligence indicates that the term “reasonable time” is not subject

to such one-year limitation –otherwise the legislator could have simply clarified it or imposed the

same limitation to all available grounds for relief under Fed. R. Civ. P., Rule 60(b). On the

contrary, the statute leaves discretion to the Court to consider what “reasonable time” means in

light of “any other reason that justifies relief” under Fed. R. Civ. P., Rule 60(b)(c). The

evolution of this specific norm from a “six month limitation” to the current wording has long

fostered the posture that courts can exercise their “inherent powers to judgments where the term

had not expired or where 60(b) did not provide relief in some traditionally provided post-term

relief,” to the extent that Fed. R. Civ. P., Rule 60(b)(6) has been used to “circumvent directly the

one-year limit.”1 See Klapprott v. United States, 335 U.S. 601 (1949).

       And as to what it means “any other reason that justify relief”, it is well understood that

those reasons cannot be the ones covered per Fed. R. Civ. P., Rule 60(b)(1)(2)(3)(4)(5). In short,

the term “any other reason” should imply something else apart from the other grounds covered

in such a rule to justify relief, some of which are subject to the one-year time limitation. In fact,

RA4ARG is neither circumventing any existing appeal process, as further elaborated below, nor

trampling into those other specific grounds for relief under this same rule which are capped by

the one-year timeframe. “Rule 60(b)(6) is a grand reservoir of equitable power to do justice in a

particular case when relief is not warranted by the preceding clauses…” See Balentine v.

Thaler, 626 F.3d 842, 846 (5th Cir. 2010), cert. denied, 564 U.S. 1006 (2011) (quoting Batts v.

Tow-Motor Forklife Co., 66 F.3d 743, 747 (5th Cir. 1995)).




1 Notes, “Federal Rule 60(b): Relief From Civil Judgments”, 61 The Yale Law Journal 1952,
77-81-84.
                                                2
    Case 1:15-cv-02739-LAP             Document 720      Filed 02/19/25      Page 72 of 91




        Having said that, it should be noted that pursuant to Fed. R. Civ. P, Rule 60(b)(3), fraud

(intrinsic or extrinsic) could not be argued unless procedural fraud or fraud on the Court is

claimed as part of “any other reason”, including under Fed. R. Civ. P., Rule 60(d)(1)–(3). The

aforesaid means that Fed. R. Civ. P., Rule 60(b)(6), construed in the mold of some “catch it all”

provision, can certainly contain elements of the other five preceding grounds as long as there is

something distinctive about it that makes such individual ground “another reason”, as in the

case of a more specific fraud on the Court that logically requires the basic elements of fraud just

to be deemed one in the first place.

        If such were not the case, any court could dismiss any proper Fed. R. Civ. P., Rule

60(b)(6) claim under the following list of excuses: the judgment under scrutiny possesses some

mistake (factual or legal errors); there is new evidence (probatory elements); a subject-matter

jurisdiction issue is clearly invoked (lack of jurisdictional powers); the judgment is no longer

valid (prospective equitable solution); and/or plain fraud is verified (dishonest and/or criminal

activity).

        In this regard, RA4ARG also relies on Fed. R. Civ. P., Rule 60(d)(1)–(3), which allows

the Court to “entertain an independent action to relieve a party from a judgment, order, or

proceeding” in order to “set aside a judgment for fraud on the court.” Insofar this very specific

type of relief, there are no time limitations for any party request, and the Court can equally grant

it sua sponte. In fact, there is no need to be a party to the legal dispute to invoke this remedy.

        In connection with an action under Fed. R. Civ. P., Rule 60(d)(1)–(3), it is clear that the

reproached behavior must be “egregious” in the sense of reaching an extraordinary result at odds

with the principles of fairness and justice, something truly inequitable. And as to the standard

applicable to fraud on the Court, the Second Circuit has recently established that“[g]enerally,



                                                3
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 73 of 91




claimants seeking equitable relief through independent actions must . . . (1) show that they have

no other available or adequate remedy; (2) demonstrate that [their] own fault, neglect, or

carelessness did not create the situation for which they seek equitable relief; and (3) establish a

recognized ground – such as fraud, accident, or mistake – for the equitable relief.” … Among

those “recognized ground[s]” is fraud on the court... To obtain relief on that basis, the [party]

“must prove, by clear and convincing evidence, that the defendant interfered with the judicial

system’s ability to adjudicate impartially and that the acts of the [other party] must have been of

such a nature as to have prevented the [party] from fully and fairly presenting a case or

defense.” See Marco Destin, Inc. v. Levy, No. 23-1330 (2d Cir. Aug. 8, 2024).

       As further entertained below, RA4ARG is the one arguing such timely defenses because

the Defendants could have never posed arguments that were to imply the criminal guilt of

various officers and officials from the Republic of Argentina and YPF at the time, who would

directly or indirectly benefit, at the personal level, with the civil judgment from Your Honor.

Yet such beneficiaries do not include the Republic of Argentina itself –its population– and their

true republican and economic interests sheltered by RA4ARG in these legal proceedings. Fraud

on the court finally takes place with the magnitude of the unprecedented ruling against the

Republic of Argentina, consummating by court decree an international fraud that trampled all

republican institutions in Argentina by “nationalizing” one of the most attractive energy

companies worldwide, and eventually sealing a new stare decisis permeable to foreign

corruption in US courts.

       This Court was boxed-in in a presumable civil dispute of international dimension to

ignore an alleged overall international criminal scheme that would otherwise render the entire

civil complaint as a further attempt to carry out criminal activity. It is possible that Al Capone



                                               4
    Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25       Page 74 of 91




could have entered into a profit share agreement with his business associates in the Chicago

underworld, but it is unlikely that he would have resorted to the US legal system to enforce it.

We are not talking about the discretion of this Court, rather the incapacity to see the light at the

end of the tunnel because the legal system was conceived –these legal proceedings in furtherance

of the final judgment now subject to Fed. R. Civ, P., Rule 60 claims– as the getaway of some

alleged criminal activity. At the end of such tunnel, the Plaintiffs are to pick up the $16.1 billion

plus bounty and walk free.

       There was no party telling this Court the aforesaid, and there could have not been any at

the time for obvious reasons. According to the factual context detailed below, the interests of the

those behind the Plaintiffs and the Defendants were not entirely divergent. RA4ARG is timely

claiming otherwise, because there is now a reason to do so post-final judgment under Fed. R.

Civ. P., Rule 60 –never before–, and because we can only know all this through the final ruling

from this Court.


       II.     Factual Context


       As hinted above, the issues in these legal proceedings were for the most part constrained

to Argentinean law, as interpreted by this Court; namely, whether the Republic of Argentina was

obliged per YPF’s bylaws and overall corporate law to tender for all of YPF’s shares, including

those belonging to the Eskenazi Family via their Petersen Group of Companies –established in

Spain with the sole purpose of becoming a shareholder of YPF–, who ended up being the

Plaintiff in this conflict along with their associates and financiers Burford Capital and its US

counterpart Eton Park Capital Management and others.




                                                5
    Case 1:15-cv-02739-LAP           Document 720          Filed 02/19/25      Page 75 of 91




        RA4ARG alleges that such conceptualization of the case is not the true legal conundrum

before this Court and the US legal system, rather the alleged international scheme of criminal

nature by which those parties were able to secure a $16.1 billion plus award in their favor from

this Court –the consummation of fraud on this Court–, turning it into the fruit of criminal activity

at inception, as well as conforming money laundering and other practices sanctionable under

both the Foreign Corrupt Practices Act (FCPA) and the Racketeer Influenced and Corrupt

Organizations Act (RICO), among others. Please do note the extraterritoriality of RICO would

be permissible under US law because the consummation of the alleged criminal scheme takes

place via some legal action and Court decree out of the United States. See RJR Nabisco, Inc. v.

European Community, 136 S. Ct. 2090 (2016). Such an overall situation is against the national

and strategic interests of the United States of America.

        For practical purposes, the $16.1 billion plus award becomes a criminal bounty granted to

the Plaintiffs via Court decree, which was clothed as a civil or commercial dispute out of

Argentina through federal courts in New York City. As a matter of fact, encapsulating the facts

of this case as a civil or commercial honest dispute between the Eskenazi Family –thus the

current financial players who acquired such claims fruit of a poisoned relationship at inception–

and the Argentinean Government –at the time controlled by the Kirchner Family– means looking

at the wrong tree while missing the entire forest subject to arson. To the contrary, appreciating

such alleged criminal activity for what it is indeed sheds legal light to the totality of the factual

context.

        Therefore, it is respectfully noted that the private law angle of the current legal dispute

–civil or commercial–, which derived in the unprecedented $16.1 billion plus judgment against

the Republic of Argentina, cannot be fully appreciated without the prism of international



                                                 6
   Case 1:15-cv-02739-LAP          Document 720         Filed 02/19/25     Page 76 of 91




criminal activity. Once those forensic and legal lenses are placed over this entire scheme, the

following facts become highly relevant to judge the present case as a whole:


       1)      The “nationalization” of YPF was a two-step process for the benefit of the
               Kirchner and Eskenazi Families.

       2)      To begin with, the Kirchner Family compelled YPF’s private controlling
               shareholder at the time, the Spanish energy company Repsol, to sell a 25% stake
               to their figurehead, the Eskenazi Family.

       3)      The Eskenazi Family, foreign to the energy sector, did not invest a single cent of
               equity in this multi-billion-dollar transaction. Everything was financed through
               various loans of approximately $3.4 billion, which were going to be repaid via
               dividends of YPF. Even some of dividends distributed were fraudulent based on
               altered reserves and ancillary.

       4)      Repsol mistakenly understood the Kirchner Family was satisfied with such a
               transaction and the new status quo: Repsol, the controlling shareholder, on the
               one side; and its new minority partners, the political Eskenazi-Kirchner Families,
               on the other side.

       5)      In fact, the Kirchner Family –at the helm of all relevant Argentinean
               governmental institutions– subsequently triggered the political decision to
               nationalize YPF by taking Repsol’s controlling stake but excluding the one held
               by their alleged figurehead, the Eskenazi Family.

       6)      At this juncture no more dividends were paid, including to the Eskenazi Family.
               This caused the Eskenazi Family to default those loans and their for-the-occasion
               investment vehicle in YPF –the Petersen Group companies– went bankrupt in
               Spain –the jurisdiction where those companies had been established just before
               executing this transaction and solely to that effect.

       7)      As a result, the Eskenazi Family’s 25% stake reverted back to their lenders: 6%
               to Repsol and 19% to financial lenders.

       8)      The Eskenazi Family –once more, the alleged figurehead of the Kirchner Family–
               entered into an agreement with the English fund Burford Capital and its US
               counterpart Eton Park Capital Management and others to finance and pursue these
               expensive legal proceedings and ultimately split the $16.1 billion plus award
               (30/70 split).



                                               7
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 77 of 91




       9)      In such a way, the aforesaid parties resorted to the US legal system against the
               Republic of Argentina and YPF by seeking compensation before Your Honor.

       10)      Burford Capital has already monetized part of its own share in such award to
               undisclosed third-party investors.

       11)     The outcome of this Court’s $16.1 billion plus award in simple economic terms
               implies compensating the Plaintiffs for a non-existent investment in YPF by the
               Eskenazi and Kirchner Families of roughly 25% of its total shares, as a result of a
               “nationalization” process triggered by the Kirchner Family within the
               administration of the Argentinean Government that excluded what could be
               considered as their “own” participation in the company.

       12)     Some ongoing criminal complaints in Argentina were further amended as a result
               of the $16.1 billion plus award by Your Honor.

       13)     As a result, Argentinean taxpayers should be obliged to pay such $16.1 billion
               plus award to corrupt individuals, who in part were already sentenced in criminal
               proceedings by Argentinean federal courts in schemes quite similar to the one
               described herein, including figureheads close to the Kirchner Family and the
               fraudulent appropriation of massive public funds via large infrastructure projects,
               while resorting to investment vehicles and money transfers around the world.
               Former President and former Vice President Cristina F. de Kircher’s criminal
               sentence to 6 years in jail was affirmed by the local Federal Court of Appeals and
               it would be subject to review by the Argentinean Supreme Court, apart from
               various other criminal proceedings that continue to progress in the direction of
               due justice.

       Regarding the timeline of these legal proceedings versus the Defendants’ interests in light

of such factual context surrounding YPF, it must be stressed that from 4/2015 to 12/2015 –this

case started last 4/2015– and from 12/2019 to 12/2023 –Your Honor’s final ruling was entered

last 9/2023–, Cristina F. de Kirchner was President and Vice President of Argentina,

respectively. Indeed, from the perspective of the Defendants, any litigation strategy about this

case had to be in line with the interests of the Kirchner Family, thus the interests of the Eskenazi

Family or the Petersen Group of Companies: Burford Capital and Eton Park Capital

Management and others. The Republic of Argentina could have never argued anything


                                                8
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 78 of 91




consistent with the true facts of the case that sustain this motion pursuant to Fed. R. Civ. P., Rule

60, because of self-incrimination by its former President and Vice President, as well as other

governmental officials and YPF officers of many years. All in all, apart from the fact of losing

the alleged grounds to obtain a $16.1 billion plus award from this Court.

       Separately, it should be highlighted that criminal complaints were filed in Argentina as

early as 2006 –still ongoing– against various parties as a result of the elaborated plot concerning

YPF, which were updated over the years also to include Your Honor’s $16.1 billion plus award

against the Republic of Argentina. 2 Those complaints are supported by a 2018 Intelligence

Report from the Argentinean Financial Unit –of indicative probatory nature– depicting the prima

facie criminal activity performed by the Eskenazi and Kirchner Families in connection with YPF

and extensive to Spanish jurisdiction. 3

       The latter affirmation does carry the remote possibility of triggering further criminal

proceedings in Argentina, as a result of some parties having resorted to the US legal system

–also a victim in this scenario– in concert to consummate fraud and money laundering against

Argentina and eventually Spain. 4 It should be noted that the Second District recently opined that



2 Exhibit 1: Criminal complaints before Argentinean Federal Judge Ariel Lijo, Docket No.

3518/2006, “NN /about criminal investigation”, Federal Criminal Court No. 4, Buenos Aires,
Argentina, were filed by former congresswoman Elisa M. A. Carrió in 2006, 2012 (amended and
expanded), and 2023 (amended and expanded as a result of Your Honor’s $16.1 billion award
against the Republic of Argentina). Ms. Carrió has been a stalwart fighter against public-driven
corruption in Argentina, and some of his complaints have secured criminal sentences against
corrupt politicians, including the former President and Vice president Cristina F. de Kirchner and
some of her associates.
3 Exhibit 2: Confidential Intelligence Report No. 0704/18 issued by the Unit of Financial

Information of Argentina (UIF), in re, “NN/ violation of Law 22,415”, Federal Criminal Court
No. 4, Buenos Aires, Argentina, as probatory indication of criminal activity regarding the
Eskenazi Family’s acquisition of a 25% stake in YPF from Repsol and related maneuvers,
among others. [free open source] https://www.rionegro.com.ar/wp-
content/uploads/2023/04/54434.pdf
4 Idem 2, 3.


                                                9
    Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25       Page 79 of 91




the jurisdictional anchor at the criminal level could be activated, in a factual context like the one

under scrutiny, to courts both in the United States and Argentina as a mirror-effect. See United

States v. Antonius, No. 21-1083, 7-10-2023 (2d. Cir. 2023).

       All of the prior, apart from the criminal complaints currently stalled before Argentinean

Federal Judge Ariel Lijo (Docket No. 3518/2006, “NN /about criminal investigation”, Federal

Criminal Court No. 4, Buenos Aires, Argentina) that involve and revolve around YPF and

Cristina F. de Kirchner, former President and former Vice President of Argentina; Sebastián,

Matías and Enrique (deceased) Eskenazi, members of Grupo Petersen; Axel Kicillof, former

Minister of Economy of Argentina, former Board Member of YPF, and current Governor of

Buenos Aires Province; Carlos Zanini, former Legal Counsel to the Presidency; Miguel

Galuccio, former President of YPF; Jorge Marcelo Soloaga, former Board Member of YPF;

Cristian Girard, former President of Comisión Nacional de Valores (CNV, local SEC) and

Alejandro Vanoli, former Vice President Comisión Nacional de Valores (CNV, local SEC);

among several others.5

       As this Court is most likely aware, Argentinean Federal Judge Ariel Lijo has been under

major public scrutiny due to his nomination to the local Supreme Court of Justice by the current

administration, which in fact lacks the required senatorial votes to attain confirmation of its

nominees to the judiciary as a whole –the government is in need of votes pertaining to the

political faction led by former President Cristina F. de Kirchner. Such a candidate to the highest

court is facing profound opposition from multiple local and international organizations,6



5 Idem 2, 3.
6 RA4ARG, Our support for the nomination of Manuel García Mansilla and objection to the

nomination of Ariel Lijo as justices of the Supreme Court of Justice of the Nation: its moral
significance and the values of freedom and justice, Buenos Aires, May 15, 2024;
www.republicanactionforargentina.org
                                               10
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 80 of 91




including the American Chamber of Commerce; and the main objections to his nomination circle

back to his lack of integrity when dealing with high profile cases, in particular the above-

mentioned about YPF, in the sense of delaying and/or stalling the respective criminal

investigations.7

       This motion and ancillary fillings are submitted on an ex-parte basis for evident reasons:

if Your Honor orders a criminal investigation at the international level out of the United States,

namely around the so-called Kirchner Family and their associates as well as the so-called

Eskenazi Family –widely perceived to have performed as the figurehead of the prior–, extensive

to certain past governmental and YPF officials and the very same financial players participating

in these legal proceedings, none of it should be known to those parties prior to the US legal

system making a formal determination as to the right course of action. The existing parties in the

legal conflict before Your Honor, to a larger or lesser extent, are key subjects of such criminal

investigation as well as of any eventual indictments and prosecution.


       III.    Legal Standing


       On today’s date, RA4ARG filed a proper ex-parte motion to intervene in these legal

proceedings pursuant to Fed. R. Civ. P., Rule 24; as well as requested herein for such

intervention to be ruled upon prior to any ruling on this motion pursuant to Fed. R. Civ. P., Rule

60 (Fed. R. Civ. P., Rule 62.1). For reasons of judicial economy, RAARG refers back to such

motion to intervene insofar its standing as an interested party in the present case.

       Notwithstanding the aforesaid, it must be stressed that there is no need to be deemed a

party to attain timely relief in these legal proceedings, as long as “Fed. R. Civ. P., Rule 60(b)

7 WLRN Public Media, Associated Press, Argentina’s Libertarian President Shocks with his

Supreme Court Pick, June 21, 2024; https://www.wlrn.org/americas/2024-06-21/argentinas-
libertarian-president-shocks-with-his-supreme-court-pick
                                               11
   Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 81 of 91




states, in part, that a court may “relieve a party or its legal representative” from a judgment or

order. Fed. R. Civ. P. 60(b), …. several circuit courts have permitted a non-party to bring a

Rule 60(b) motion or a direct appeal when its interests are strongly affected,” See Grace v. Bank

Leumi Tr. Co. of NY, 443 F.3d 180, 188 (2d Cir. 2006) (carving out “an exceedingly narrow

exception to the well-established rule that litigants, who were neither a party, nor a party’s legal

representative to a judgment, lack standing to question a judgment under Rule 60(b)” where

“there is a strong possibility that the predicate judgment that forms the basis of this fraudulent

conveyance action is the result of a settlement process devoid of due process protections and

marred by serious procedural shortcomings”); see also Binker v. Com. of Pa., 977 F.2d 738, 745

(3d Cir. 1992); Southerland v. Irons, 628 F.2d 978, 980 (6th Cir. 1980) (per curiam).

       The application of the Grace exception in this context is twofold. First, RA4ARG and

the Argentinean people are “strongly affected” by the Court’s core ruling because of its

unprecedented $16.1 billion plus award against the Republic of Argentina in what could be

conceived as an alleged international criminal scheme finally sealed by US Court decree. See

Grace, 443 F.3d at 188. Second, the Court’s core ruling was allegedly entered on the basis of

fraud on the court, with the potential to set a legal precedent around the world indicating that

foreign corrupt practices could be ignored and rewarded in the United States. Third, the

aforementioned is therefore not in line with the national and strategic interests of the United

States of America. As a consequence, irrespective of the simultaneous motion to intervene and

any appellate proceedings, RA4ARG pleads the Court to entertain and grant this motion.


       IV.     Legal Argument


       a. Applicable Normative



                                               12
   Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25    Page 82 of 91




           Fed. R. Civ. P., Rule 60. Relief from a Judgment or Order.

           “(a) CORRECTIONS BASED ON CLERICAL MISTAKES; OVERSIGHTS AND
           OMISSIONS. The court may correct a clerical mistake or a mistake arising from
           oversight or omission whenever one is found in a judgment, order, or other part of the
           record. The court may do so on motion or on its own, with or without notice. But
           after an appeal has been docketed in the appellate court and while it is pending, such
           a mistake may be corrected only with the appellate court’s leave.

           (b) GROUNDS FOR RELIEF FROM A FINAL JUDGMENT, ORDER, OR
           PROCEEDING. On motion and just terms, the court may relieve a party or its
           legal representative from a final judgment, order, or proceeding for the
           following reasons: (1) mistake, inadvertence, surprise, or excusable neglect; (2)
           newly discovered evidence that, with reasonable diligence, could not have been
           discovered in time to move for a new trial under Rule 59(b); (3) fraud (whether
           previously called intrinsic or extrinsic), misrepresentation, or misconduct by an
           opposing party; (4) the judgment is void; (5) the judgment has been satisfied,
           released, or discharged; it is based on an earlier judgment that has been reversed or
           vacated; or applying it prospectively is no longer equitable; or (6) any other reason
           that justifies relief.

           (c) TIMING AND EFFECT OF THE MOTION. (1) Timing. A motion under
           Rule 60(b) must be made within a reasonable time—and for reasons (1), (2), and
           (3) no more than a year after the entry of the judgment or order or the date of the
           proceeding. (2) Effect on Finality. The motion does not affect the judgment’s finality
           or suspend its operation.

           (d) OTHER POWERS TO GRANT RELIEF. This rule does not limit a court’s
           power to: (1) entertain an independent action to relieve a party from a
           judgment, order, or proceeding; (2) grant relief under 28 U.S.C. § 1655 to a
           defendant who was not personally notified of the action; or (3) set aside a judgment
           for fraud on the court…”

       b. Legal Grounds


       RA4ARG does claim equitable relief is warranted in this setting under both Fed. R. Civ.

P., 60(b)(6) and 60(d)(1)–(3). Indeed, the unique set of facts and circumstances of this case make

it extraordinary and unprecedented and do call for this Court’s final judgment and ancillary

rulings to be set aside based on a multiplicity of well-attested reasons that as a whole comply

with the requirements stipulated under such normative.


                                              13
    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25      Page 83 of 91




       As previously highlighted, Rule 60(b)(6) is a catch-all provision granting relief from

judgment due to “any other reason that justifies relief.” In this sense, “[w]hen a party timely

presents a previously undisclosed fact so central to the litigation that it shows the initial

judgment to have been manifestly unjust, reconsideration under rule 60(b)(6) is proper.” See

Good Luck Nursing Home, Inc. v. Harris, 636 F.2d 572, 577 (D.C. Cir. 1980). “[R]elief under

Rule 60(b)(6) is all the more appropriate when ‘it involves not only the interests of the [party],

but that of a third party.’” See People for the Ethical Treatment of Animals v. U.S. Dep’t of

Health & Hum. Servs., 901 F.3d 343, 355 (D.C. Cir. 2018) (quoting Comput. Pros. for Soc. Resp.

v. U.S. Secret Serv., 72 F.3d 897, 903 (D.C. Cir. 1996)).

       Once more, Fed. R. Civ. P., Rule 60(d)(3) authorizes a court to “set aside a judgment for

fraud on the court.” Such relief is only appropriate in “egregious cases,” “in which the integrity

of the court and its ability to function impartially is directly impinged.” See Jordan v. U.S.

Dep’t of Lab., 331 F.R.D. 444, 451 (D.D.C. 2019), aff’d, No. 19-5201, 2020 WL 283003 (D.C.

Cir. Jan. 16, 2020). Fraud on the court occurs when a “party has sentiently set in motion some

unconscionable scheme calculated to interfere with the judicial system’s ability impartially to

adjudicate a matter by improperly influencing the trier or unfairly hampering the presentation of

the opposing party’s claim or defense.” See Aoude v. Mobil Oil Corp., 892 F.2d 1115, 1118 (1st

Cir. 1989). It is actually verified “where the impartial functions of the court have been directly

corrupted.” See Robinson v. Audi Aktiengesellschaft, 56 F.3d 1259, 1266 (10th Cir. 1995).

       Furthermore, as already invoked, this Court could and should equally vacate its

judgments on its own volition. As a general issue, “a majority of circuits to have considered the

power of a district court to vacate a judgment under Rule 60(b) have concluded that district

courts have the discretion to grant such relief sua sponte.” See Judson Atkinson Candies, Inc. v.



                                                14
    Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 84 of 91




Latini-Hohberger Dhimantec, 529 F.3d 371, 385 (7th Cir. 2008) (collecting cases in circuit

split).

          On a separate note, it is not uncommon for Fed. R. Civ. P., Rule 60(d) to be claimed by

criminal defendants insofar wrongdoings that could involve some specific counsel. 8 As

discussed before, the following considerations are key: some “key figures” within the

Defendants themselves still have conflictive or divergent interests from those of the Republic of

Argentina and YPF; this Court was boxed-in in a presumable civil or commercial dispute

revolving around Argentinean law; and the Defendants’ counsels operated out of the United

States within the proper boundaries of their profession subject to such predetermined context. It

would have more than a stretch for such counsels to argue this case is in the end about an

international criminal scheme engulfing some of those “leading” their own institutional clients,

in tandem with those behind the Plaintiffs, and not about the legal dispute claimed by the latter.

          But such is not the case of RA4ARG, which was established in the United States during

the course of 2024 precisely to shelter the constitutional rights of the Argentinean people, the

republican institutions of their country –including the integrity of public office and the

independence of the judiciary–, as well as their free-market economy. The Internal Revenue

Services granted RA4ARG with its charitable, tax exempt status last 12/2024. Nobody could

have timely and previously argued the grounds for relief now advocated by RA4ARG in these

legal proceedings –as this interested party is currently doing it–, not only because there is a need

for a final judgment to be set aside under Fed. R. Civ. P., Rule 60, but also because of those




8 Meadows, Christopher G., “Rule 60(b): Whether “Tapping the Grand Reservoir of Equitable

Power” Is Appropriate to Right An Attorney’s Wrong”, 88 Marquette Law Review, 2005, 997-
1011.
                                               15
    Case 1:15-cv-02739-LAP          Document 720         Filed 02/19/25      Page 85 of 91




divergent or conflictive interests that do demand a party like RA4ARG for that to happen. It is

in the best interests of justice not to silence RA4ARG’s voice. 9

       It is worth noting that fostering corruption at the international level does not enhance

profitability of American companies, it rather weakens them, especially if the FCPA is not

applicable to foreign firms –when it does via similar normative, it increases foreign investment

and business standards in host countries–.10 As in the case of democracy, corruption hinders the

free-market economy by making it unsustainable, because integrity is the foundation of any true

free endeavor.11 Any idea to the contrary is merely flawed and a disfavor to American interests

at home and abroad. The issue is not about allowing US companies to bribe foreign officials

freely, rather deterring such criminal practices whenever possible around the world –current

American law of higher order dictates so–.

       From the perspective of US courts, such a commendable policy-effort reasonably implies

forbidding foreign and US firms alike to financially benefit, within the legal system, from

sanctionable international criminal schemes under FCPA and/or any criminal statutes of similar

scope. In sync with the factual context outlined above, RA4ARG is arguing the $16.1 billion

plus award via Court decree is the end-result of the sort of criminal activity this country has

abhorred in its federal criminal legislation for many decades.




9
 Garner, Amy M., “An Attempt to Intervene in the Confusion: Standing Requirements for Rule
24 Intervenors”, 69 University of Chicago Law Review 681, 2002, 703.
10 Arbastkaya, Maria, Mialon, Hugo, “The Impact of Foreign Corrupt Practices Act on

Competitiveness, Bribery, and Investment”, 22(1) American Law and Economics Association,
(April 2020), 105-126.
11 “Human rights can only be assured among a virtuous people.” Cfr. George Washington to

Marquis De Lafayette, February 7, 1788, John C. Fitzpatrick, ed., The Writings of George
Washington, U. S. Government Printing Office, Washington D. C., 1939, 29:410.
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    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25       Page 86 of 91




        The Department of Justice (DOJ) has already intervened in this case (# 679, 11/6/2024)

and provided information about it to Argentine authorities via formal correspondence. 12

RA4ARG pleads the Court to grant this motion also in light of the national and strategic interests

of the United States of America, and, with such goal in sight, move the DOJ and any other

relevant agencies to adequately scrutinize the facts and parties herein. International comity,13 at

the very least, must serve to deter cross-border criminal activity capable of diverting the

administration of justice to achieve its illegal goals.

        How could the US legal system vouch for foreign government corruption via figureheads

within a spurious “nationalization process” claiming leftist or pseudo-communist ideals to

defraud an entire population and literally steal billions of dollars out of oil assets for personal

enrichment, because, in the end, expensive lawyers were retained by some English and US

financial players acting as Plaintiffs? And, more troublesome, how could the US legal system

guarantee the payment of those parties’ criminal bounty via some legal award? Without a shred

of doubt, such a course of action is not what the legal system has been designed and intended for,

and none of it is in the national and strategic interests of the United States of America.

        RA4ARG’s motions are being filed within a reasonable time after Your Honor’s core

judgment, attending the circumstances, current litigation stage, and the institutional magnitude of

this case not only for the millions of Argentineans who suffered the ignominy summarized

above, but also as a potential US legal precedent that could disincentivize foreign governmental

corruption around the globe from those who directly or indirectly seek validation of their

criminal exploits within the US judiciary. In short, preventing financial players and other similar


12 Idem 2,3.  Letter from the Department of Justice to the Ministry of Justice and Human Rights,
Republic of Argentina, July 29, 2024.
13 Bleimaier, John Kuhn, “The Doctrine of Comity In Private International Law”, 24 The

Catholic Lawyer 4, 5, Autumn 1979, 327-332.
                                                17
    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25     Page 87 of 91




brokers from “buying” spurious claims from such sort of State-related actors internationally,

with the goal of giving them an aura of respectability under the English language through major

financial centers and selective US law firms. The “normalization” of business standards

applicable to companies like YPF, within a global free-market economy, cannot be fostered in

such a manner.

       What would be the difference if we were talking about some massive corrupt transaction

out of Cuba, Venezuela, Brazil, Mexico, South Africa, Russia, Ukraine, India, China and/or any

other country that could undergo a similar takeover of its institutions by the hand of individuals

like the Kirchner Family? None whatsoever if the Burford Capitals of this world were to acquire

those claims in order to become the financing engine, buffer and fronting of some long and

costly litigation before US courts driven by the US interpretation of foreign law regarding

conducts from foreign public officials abroad. And none of it serves the interest of justice,

needless to say the national and strategic interests of this great nation.

       It is thus transcendent to highlight that RA4ARG is not hereby suing former President

and Vice President Cristina F. de Kirchner and/or any other public officers and officials of the

Republic of Argentina and YPF, including any financial institutions that could have participated

in some international financial scheme as a conduit for fraud, money laundering and similar

criminal activity.14 See Consejo de Defensa del Estado de la República de Chile v. Banco

Santander Central Hispano, S.A., No. 09-20621, 2009 WL 2336429 (S.D. Fla. May 29, 2009)

(concerning misappropriations by Augusto Pinochet); Consejo de Defensa del Estado de la

República de Chile v. Banco de Chile, No. 109CV20614, 2009 WL 1612255 (S.D. Fla. Mar. 11,

2009) (same cause of action); Republic of Haiti v. Aristide, No. 05-22852, 2005 WL 3521251


14 Buxbaum, Hannah L., “Foreign Governments as Plaintiffs in U.S. Courts and the Case Against

“Judicial Imperialism”, 73 Washington and Lee Law Review 653, 2016, 688-692.
                                                18
   Case 1:15-cv-02739-LAP           Document 720        Filed 02/19/25      Page 88 of 91




(S.D. Fla. Nov. 2, 2005) (claims against Jean-Bertrand Aristide under RICO for “theft,

conversion, fraud and breach of fiduciary duty”); Republic of Iran v. Pahlavi, 464 N.Y.S.2d 487

(N.Y. App. Div. 1983) (regarding misappropriations by the former Shah, Mohammed Reza

Pahlavi); Republic of Panama v. BCCI Holdings, 119 F.3d 935 (11th Cir. 1997) (dealing with

misappropriations by Manuel Noriega); Republic of the Philippines v. Marcos, 818 F.2d 1473,

1480–81 (9th Cir. 1987) (alleging that Marcos and others extorted and embezzled millions of

dollars from the Philippine government), rehearing en banc, 862 F.2d 1355, 1360–61 (9th Cir.

1988) (en banc) (ruling, among other things, that the suit was not barred under the act of state or

political question doctrines); among several others.

       Instead, RA4ARG is timely requesting this Court not to allow such criminal activity to be

consummated via its $16.1 billion plus award directly or indirectly in favor of some of those

parties, all pursuant to Fed. R. Civ. P., Rule 60(b)(6) and (d)(1)–(3), as long as RA4ARG’s

claims to vacate the Court’s final judgment and ancillary do conform “any other reason that

justifies relief” as well as “an independent action” under the factual and legal premises that it

ultimately seals “fraud on the court.”

        Unequivocally, the totally of facts of this case that culminated with the Court’s

unprecedented award corroborate an “extraordinary” situation that prevented any previous

intervention capable of securing a different outcome. The context is “egregious” and the

underlying allegations of government-related corruption that gave birth to the Plaintiff’s claims

cannot be condoned in fairness and equity, as if they did not exist or were unrelated to the issues

at hand. There is a compelling reason to remedy the final judgment of this Court to avoid

“manifest injustice.”




                                               19
    Case 1:15-cv-02739-LAP           Document 720         Filed 02/19/25       Page 89 of 91




       Moreover, as clearly stated, a judgment of this “magnitude” possesses the latitude to set

new legal standards worldwide. Therefore, the national and strategic interests of this country

indicate that any incentives to curtail foreign government-related corruption is a commendable

legal policy, in particular when it means closing the US jurisdictional door to awards fruit of the

prior. Once more, RA4ARG’s interests in this litigation are not covered by any existing party to

it, despite the fact the Court can sua sponte revert its current status as victim of an international

fraudulent scheme by granting this motion without delay. Regardless of it, RA4ARG also claims

to have justified its right to intervene as an interested party in these legal proceedings.


       V.      Conclusion and Relief


       As a result of the facts and law above-mentioned, RA4ARG pleads the Court to grant the

following relief: (i) order the Department of Justice (DOJ) and any other relevant agencies to

initiate a formal criminal investigation at the international level of the facts and parties

highlighted in the accompanying Memorandum of Law; (ii) stay these legal proceedings pending

of such side criminal investigation as well as eventual indictments and prosecution; and

(iii) timely vacate the $16.1 billion plus award against the Republic of Argentina due to

institutional interests and concerns in light of international criminal activity unduly impacting the

US legal system (Fed. R. Civ. P, Rule 60 (b)(6), (d)(1)–(3)).


                                   DATED in Buenos Aires, ARGENTINA, on February 17, 2025.




                                                20
Case 1:15-cv-02739-LAP   Document 720    Filed 02/19/25   Page 90 of 91




                              __________________________________________
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                                 21
   Case 1:15-cv-02739-LAP           Document 720       Filed 02/19/25     Page 91 of 91




                                     CERTIFICATION

         Pursuant to Individual Practice Rules LAP, Rule 2(B), the undersigned certifies that the
foregoing Memorandum of Law complies with all formatting requirements and contains 6123
words.




                                             _________________________________________
                                             Fernando G. IRAZU (pro hac vice motion pending)
                                             Attorney at Law




                                              22
